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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
www.flsb.uscourts. gov

In re:
Chapter 7
HARVEY HERNANDEZ,

Debtor(s). Case No. 10-26989-BKC-RAM
/
SONEET KAPILA, CHAPTER 7 TRUSTEE Adv. Case No.
FOR THE ESTATE OF HARVEY HERNANDEZ,

Plaintiff,
V.

HARVEY HERNANDEZ,

Defendant.
/

TRUSTEE’S COMPLAINT OBJECTING TO DEBTOR’S DISCHARGE

Soneet Kapila, as Chapter 7 Trustee (the “Trustee”) for the estate of Harvey Hernandez
(the “Debtor”), by and through his undersigned counsel and pursuant to 11 U.S.C. §§
727(a)(2)(A), 727(a)(3), 727(a)(4)(A), and 727(a)(5), and Federal Rule of Bankruptcy Procedure
7001, files this Complaint Objecting to the Debtor’s Discharge, and in support states as follows::

Jurisdiction, Venue and Parties

1. This is an Adversary Proceeding filed pursuant to 11 U.S.C. §§ 727(a)(2)(A),
727(a)(3), 727(a)(4)(A), and 727(a)(5), and Federal Rule of Bankruptcy Procedure 7001(4).

2. The is a core proceeding under 28 U.S.C. § 157(b)(2)(J).

3, The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1334(b).

4, Venue is proper in this Court pursuant to 28 U.S.C. §1409 as the Chapter 7

bankruptcy case of the Debtor is pending in this District.

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5. The Trustee is the duly-qualified and acting Chapter 7 Trustee for the Debtor’s
Estate.
6. The Debtor is a debtor in a proceeding under Chapter 7 of the Bankruptcy Code.

General Allegations

Background of the Debtor

7. The Debtor is an ex-condominium developer who was very successful during the
South Florida condominium boom between 2003 through 2006.

8. H&H Development Co. (“H&H Development”) was a wholly owned corporation
of the Debtor that the Debtor used to build/convert condominium projects.

9. In order to build or convert his condominium projects, the Debtor had to borrow
funds from lenders — either in his individual name or guaranteed by him.

10. Due to the failing real estate market in 2007 and 2008, the Debtor defaulted on
numerous loans. As a result, lenders sought to collect on their loans against the Debtor.

11. On March 11, 1008, Regions Bank instituted an action against the Debtor and his
company, 100 Douglas Apartments, LLC. On November 26, 2008, Regions Bank obtained a
Summary Final Judgment of Foreclosure in the amount of $1,425,373.86 (case no. 08-13135 CA
27).

12. On August 13, 2008, Briarrose Invest. Ltd., instituted an action against the Debtor
and his company, Bird Road, LLC. On April 14, 2009, Briarrose Invest, Ltd., obtained a Final
Default Judgment in the amount of $1,619,041.10 (case no. 08-46755 CA 27) against the Debtor.

13. On July 3, 2008, Bank Leumi instituted an action against the Debtor and his

company, Bird Road Holdings, LLC. On October 7, 2009, Bank Leumi obtained a Final

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Deficiency Judgment in the amount of $1,325,743.89 (case no. 08-38483 CA 05) against the
Debtor.

14. As of January 2008, the Debtor was indebted to his ex-wife in the approximate
amount of $500,000 pursuant to the terms of a divorce settlement agreement.

15. Since at least January, 2008, the Debtor was insolvent or in the zone of
insolvency.

The Debtor Files Bankruptcy

16. On June 16, 2010, the Debtor filed a Voluntary Petition for relief under Chapter 7
of the United States Bankruptcy Code.

17. In his Summary of Schedules, the Debtor listed $18,224 in personal property
assets and $7,521,112.92 in unsecured claims.

18. In his original schedule B filed June 16, 2010, the Debtor listed three b ank
accounts: Mercantil Bank (with a balance of $389); Eastern National Bank (with a balance of
$200); and Coconut Grove Bank (with a balance of $200).

19. On August 19, 2010, the Trustee served the Debtor with his Rule 2004
Examination Notice Duces Tecum (the “Notice”). Through the Notice, the Trustee requested
that the Debtor produce the following documents:

Any and all Documents regarding your transfer of $320,000 to Manuel Hernandez
on March 16, 2008.

Any and all Documents regarding H&H Development Co.'s transfer of
$1,100,000 to Manuel Hernandez on April 10, 2008.

Any and all business related Documents between yourself and Manuel
Hernandez, including but not limited to, any and all loan agreements, promissory
notes, and correspondence.

Any and all Documents regarding Beaufort Advisors, Ltd.

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All bank statements for Real Estate Advisors, Inc., from January 1, 2006 through
today.

All bank statements for Cyber Warehouse, Inc., from January 1, 2006 through
today, including the bank statements from SchwabOne.

All bank statements for H&H Development Co. from January 1, 2006 through
today, including the bank statements from Eastern National Bank.

All of your bank statements from Eastern National Bank from January 1, 2006
through today.

All of your bank statements from Commerce Bank from January 1, 2006 through
today.

All bank statements for MED Investments, LLC, from January 1, 2006 through
today, including the bank statements from Ocean Bank.

Any and all statements for any bank accounts that you have held in your name,
either individually or jointly, from January 2006 through today.

Any and all statements for any bank accounts that you have had signature
authority from January 1, 2006, through today.

Any and all agreements between yourself and The Solution Group.

Any and all agreements between Real Estate Advisors, Inc., and The Solution
Group.

All bank statements for H&H Development at Gallery Art from January 1, 2006
through today.

All bank statements for H&H Development at 430 Hibiscus, LLC, from January
1, 2006 through today, including the bank statements from Eastern National Bank.

Any and all business related documents between yourself and Carlos Marquez.

20. The Debtor never produced, and still has not produced, the most relevant
documents requested in the Notice, those being the documents regarding Manuel Hernandez,
Beaufort Advisors, Ltd., Cyber Warehouse, Inc., and all the bank accounts for which he had

signature authority (the “Key Documents”’).

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21. On January 19, 2011, and only after the Trustee had engaged in substantial
discovery, the Debtor filed his Amended Schedules, which included an Amended Schedule B
that listed a bank account at Bank Atlantic (the “BA Account’), Merrill Lynch (the “Merrill
Lynch Account”), and Eastern National Bank (the “ENB Account”)(collectively, the “Missing
Accounts”), each allegedly owned by the Debtor’s uncle, Manuel Hernandez (the “Debtor’s
Uncle”). The Debtor stated in his Amended Schedule B that he had power of attorney over the
Missing Accounts.

22. Only after the Trustee engaged in significant discovery with third parties (and is
still engaging in significant discovery with third parties), and committed significant estate
resources in obtaining such discovery, did the Trustee obtain many of the Key Documents.

23. After the Trustee’s review of the Key Documents (and Missing Account
documents) received thus far from third parties, the Trustee understands, and will discuss below,
why the Debtor did not produce any of the Key Documents or Missing Account Documents.

The Debtor Transfers Over One Million Dollars to His Uncle

24. On March 16, 2008, the Debtor transferred $320,000 (the “320 Transfer”) from
his individual account to his Uncle. A copy of the check evidencing such transfer is attached as
Exhibit “A.”

25. The Debtor’s Uncle is a Venezuelan citizen who resides in Venezuela.

26. On April 10, 2008, the Debtor’s wholly-owned development company, H&H
Development, transferred $1,100,000 (the “7.1 Transfer”) to the Debtor’s Uncle (collectively,
the 320 Transfer and the 1.1 Transfer shall be referred to as the “Uncle Transfers”). A copy of

the check evidencing such transfer is attached as Exhibit “B.”

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27. The Debtor testified at his Rule 2004 Examination that he made the Uncle
Transfers to the Debtor’s Uncle to repay a loan the Debtor’s Uncle had made to the Debtor so
that the Debtor could pay his ex-wife. The Debtor has never produced any loan documents to the
Trustee evidencing any loans made by the Debtor’s Uncle to the Debtor.

28. In addition, the Debtor testified that he used the bank account of H&H
Development to pay for his personal expenses.

29. | The Debtor had complete control over the H&H Development bank account in
that he had the sole power to designate who would receive funds from that account, as well as
the power to actually disburse all the funds within that account.

30. | The Uncle Transfers were deposited into a bank account in the name of the
Debtor’s Uncle at Eastern National Bank (a/ka the ENB Account), which was opened on March
12, 2008.

31. | The ENB Account was opened with a $1,000 deposit by the Debtor. In addition,
the Debtor had signature authority and a full power of attorney over the ENB Account. The
relevant ENB Account documents are attached as Composite Exhibit “C.”

32. The Debtor deposited some of his income in 2008 into the ENB Account.

33. The Debtor did not initially disclose the ENB Account on his bankruptcy
schedules, despite the fact that he had a full power of authority over that account, until after the
Trustee questioned the Debtor about the ENB Account at the Debtor’s Rule 2004 Examination.

Beaufort Advisors

34. On March 12, 2008 (the same date the ENB Account was opened), the Debtor’s
Uncle incorporated Beaufort Advisors in the British Virgin Islands. A copy of the incorporation

papers are attached as Exhibit “D.”

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35. On April 4, 2008, an account at Merrill Lynch in Florida was opened for Beaufort
Advisors (the “Merrill Lynch Account”). Once again, the Debtor had a full power of attorney
over the Merrill Lynch Account. A copy of the relevant Merrill Lynch Account documents are
attached as Composite Exhibit “E.”

36. On April 9, 2008, the Debtor’s Uncle executed a Revocable Trust (the “Trust’’)
Settlement Agreement (the “Trust Agreement”). The Trust Agreement documents were
produced by Merrill Lynch and not the Debtor. The Trust Agreement provides that the Debtor’s
Uncle is both the settler and trustee. The Trust Agreement also provides that upon either the
death of the Debtor’s Uncle or the Debtor, whichever occurs first, that the Trust (after paying all
expenses for the Trust) shall set apart and deliver the Trust res to the Harvey Hernandez
Declaration of Trust dated April 9, 2008. A copy of the Trust Agreement is attached as Exhibit
op”

37. | The Debtor has not produced, or listed in his bankruptcy schedules, the Harvey
Hernandez Declaration of Trust dated April 9, 2008.

38. Beaufort Advisors listed its business address in the Merrill Lynch Account
opening documents at the Debtor’s place of business.

39. Thereafter, $1,100,000 was transferred from the ENB Account to the Merrill
Lynch Account on May 1, 2008; and, $310,000 was transferred from the ENB Account to the
Merrill Lynch Account on January 12, 2009. A copy of the transfers are attached as Composite
Exhibit “G.”

40. The Debtor did not initially disclose the Merrill Lynch Account on his bankruptcy

schedules, despite the fact that he had a full power of authority over the Merrill Lynch Account.

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The Debtor only disclosed the Merrill Lynch Account on his bankruptcy schedules after being
questioned about it at his Rule 2004 examination.

4l. At the Debtor’s Rule 2004 Examination, which was taken on November 12, 2010,
and at which time the Trustee had not yet received any documents regarding Beaufort Advisors’
Merrill Lynch Account or had knowledge of the Debtor’s full power of attorney and signature
authority over the Merrill Lynch Account, the Trustee questioned the Debtor regarding Beaufort
Advisors. Below are portions of the Debtor’s testimony:

Q: Do you know whether [Beaufort] is incorporated?

A: No idea.
Q: Manuel Hernandez owns that company alone?
A: No idea.

Hernandez 2004 Transcript at pg. 70:13-17.

Q: Does Beaufort Advisors have any bank accounts in the United States of America?
A: I’m assuming.

Q: Do you know —

A: I don’t know.

Q: --where?

A:

No I don’t know where.
Hernandez 2004 Transcript at pgs. 72:2—73:1.

Do you know whether Beaufort Advisors has an account at Merrill Lynch?
Yes it does.

Excuse me?

I think it does.

Does Beaufort have an account at Merrill Lynch?

I think it does, yes.

Do you know if that account is still open?

I have no idea.

Once this money went out to Beaufort Advisors, this $1,100,000, did you receive
any of it from Mr. Hernandez?

No.

PF QOPOPOPOP

Hernandez 2004 Transcript at pg.149:10-23.

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42. On January 19, 2011, the Trustee received documents produced by Merrill Lynch
regarding the Merrill Lynch Account. These documents evidence that the Debtor had a full
power of attorney over the Merrill Lynch Account, and more importantly, that the Debtor had
control over the funds in the Merrill Lynch Account. For instance, the Debtor had a Visa check
card tied to the Merrill Lynch Account, which Visa check card the Debtor used between July 10,
2009 through December 31, 2010 (when the funds in the Merrill Lynch Account were virtually
depleted) on every imaginable personal expense — from consistently dining at expensive
restaurants to purchasing luxury goods. Notably, the Debtor’s Uncle did not have a Visa check
card tied to the Merrill Lynch Account.

43. Despite the Debtor’s testimony at his Rule 2004 Examination (on November 12,
2010), he actually used his Visa check card tied to the Merrill Lynch Account during the month
of November 2010 (the month of his Rule 2004 Examination).

44, In addition, the Debtor testified that he knew Beaufort Advisors had lent some
monies, but he did not know to whom.

45. The Debtor testified at his Rule 2004 Examination as follows:

Q Okay. Has Beaufort Advisors ever - - is Beaufort Advisors in the business of

lending money?

A I know that he [Mr. Hernandez] has lent money through Beaufort, but I don’t

know what is the main - -

Q: Who has he lent money to Beaufort -- who has he lent money to through

Beaufort?
A I don’t know. I mean, I know that he has lent money through Beaufort, but I
don’t know, I cannot tell you exactly to who.
Hernandez 2004 Transcript at pg. 71:7-15.
46. The Debtor lied at his Rule 2004 Examination regarding his knowledge of

Beaufort Advisors.

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47. The Debtor controls, and has always controlled, Beaufort Advisors and its Merrill
Lynch Account in that he had the power to designate who would receive funds from that
account, as well as the power to actually disburse and use all the funds within that account.

48. | The Debtor concealed his control over the Merrill Lynch Account, which control
extended to the Debtor’s use of funds in the Merrill Lynch Account within one year before the
Petition Date.

49. To date, the Debtor has not produced any documents or financial records of
Beaufort Advisors.

The Solution Group

50. The Solution Group (“TSG”) is owned by Raul de Varona (“Mr. Varona”) and
Camilo Lopez (“Mr. Lopez’’).

51. TSG is in the business of purchasing and selling distressed properties. TSG either
creates an entity that is capitalized by investor funds and owned by such investors, which in turn
purchases distressed properties that TSG consults on and manages; or, creates an entity that it
owns (usually with an investor) in which the investor loans money to that entity to purchase
distressed properties.

52. Since 2009, the Debtor, through, Real Estate Advisors, Inc. (“Real Estate
Advisors”), has allegedly been a consultant for TSG. As payment for his consulting services,
TSG pays the Debtor a salary and his health insurance, although it is not actually known how
much the Debtor is paid and what benefits the Debtor receives.

53. Real Estate Advisors is the Debtor’s wholly-owned company which was
incorporated on January 16, 2009, and from which date he has paid a majority, if not all, of his

personal expenses.

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54. Between January 2010 and August 2010, TSG ran its payroll for its employees
through Real Estate Advisors. In other words, TSG would deposit monies into Real Estate
Advisor’s bank account which monies would then be used to pay TSG’s employees.

55. In addition, TSG held the Debtor out as its “Chairman of the Board” on its
website until the Trustee questioned the Debtor about his involvement in TSG, after which
TSG’s website was changed. A copy of TSG’s website page stating the Debtor is its Chairman
of the Board is attached as Exhibit “H.””

MH Real Estate Holdings

56. MH Real Estate Holdings is a company allegedly owned by Mr. Lopez and
managed by TSG.

57. On September 1, 2009, Beaufort Advisors allegedly made a loan to MH Real
Estate Holdings in the amount of $1,750,000 (the “Loan”.

58. At the time of the Loan, the Loan was the biggest investment/loan TSG or Mr.
Lopez had received in furtherance of TSG’s business.

59. The Loan is evidenced by a promissory note (the “Note”). The Note was
produced by TSG months after the Rule 2004 examinations of the Debtor and Mr. Varona, and
immediately before the Rule 2004 Examination of Mr. Lopez on February 23, 2011.

60. Mr. Lopez, the alleged signatory on the Note, testified he did not recall seeing or
signing the Note, but yet knows that he “probably” did sign the Note.

61. To date, Beaufort Advisors has transferred $1,753,894 from its Merrill Lynch

Account to MH Real Estate Holdings.

' Both the Debtor and Mr. Varona testified at their respective Rule 2004 Examinations that the Debtor was not
involved in any official capacity with TSG, and was merely a “consultant.” Furthermore, the Debtor testified at his
Rule 2004 Examination that the representation of him as Chairman of the Board of TSG was a lie.

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62. The alleged purpose of the Loan from Beaufort to MH Real Estate Holdings was
so that MH Real Estate Holdings could purchase distressed properties in Miami-Dade and
Broward counties.

63. In fact, since September 2009, MH Real Estate Holdings has purchased over 40
properties in Miami-Dade and Broward counties (the “MH Properties”).

64. | MH Real Estate Holdings has sold some of the MH Properties, still owns some of
the MH Properties (some of which it is collecting rent from), and has transferred some of the MH
Properties to related and/or affiliated entities.

65. The Debtor manages the affairs of MH Real Estate Holdings, has held himself out
to the public as the managing director of MH Real Estate Holdings, has the power to designate
who gets paid from funds belonging to MH Real Estate Holdings, and according to Mr. Lopez, is
the person that approves which properties MH Real Estate Holdings is going to purchase with
Beaufort funds. Attached as composite Exhibit “I are numerous documents evidencing the
Debtor’s control of MH Real Estate Holdings.

66.  Ineffect, the Debtor controls MH Real Estate Holdings.

67. Despite such evidence, the Debtor testified at his Rule 2004 Examination (which
was taken prior to the receipt of the documents attached as Exhibit “T’”):

Okay. Have you heard of a company called MH Real Estate Holdings, LLC?
Yes.

What company is that?

It’s areal estate company. I mean, it’s an investment company.

And who owns that?

I believe it’s Camilo Lopez.

Is there any — is it a coincidence that MH Real Estate Holdings, LLC, bears the
initials of Manuel Hernandez?

No, Manuel is a big investor in MH.

So, he is a big investor in MH Real Estate Holdings, LLC?

Yes, but I don’t think he owns the company though.
Okay, then why is Manuel a big investor in MH Real Estate Holdings, LLC?

DPOF DPOPAP

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Why?

Why?

I don’t know why. I mean - -

So you don’t know anything about that?

- - because he decided to be a big investor, I mean - -

Well, I mean - -

he invested in that company, which buys and sells property.

The reason I ask you is you said you were very close with him, he’s like a father
to you. So, I’m assuming that when he would become a big investor in any
company, you guys would have a discussion about it. Wanted to know why he
decided to become an investor in MH Real Estate - -

No, no, you said why he was a big investor. He’s a big investor because he
decided to be a big investor. He thought the business was good.

What’s the business of MH Real Estate Holdings - -

Buy and sell - -

LLC?

-- property. I’m sorry, I didn’t let you finish.

That’s fair enough.

I’m sorry.

How many properties does MH Real Estate Holdings, LLC own?

I have no idea.

Okay. Did Manuel Hernandez, did he invest money in MH Real Estate Holdings,
or did he lend money to MH Real Estate Holdings?

I don’t know the capacity, if it’s investment or a loan.

QOPOPOPrOS

PrP OPAOPOPOPO

Hernandez 2004 Transcript at pgs. 75:16 — 77:17.

68. In addition, Mr. Lopez testified as follows:

Q: Let’s use an example. Let’s say you find a property at a foreclosure sale for
$50,000, and you say, I think this is a good property for MH Real Estate, right?
Are you with me so far?

A: Yes.

Q: You call up someone and say we want to transfer over $50,000 into MH Real
Estate account to buy this property at a foreclosure sale, is that right?

A: No.

Q: Somebody has to give you authority, though, correct, to release the money?

A: Like draws.

Q: Exactly.

A: Yeah.

Q: How do you get authority to make that draw?

A: It was pretty much through Harvey.

Lopez 2004 Transcript at pgs. 139:16 — 140:9.

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69. | When questioned about what the Debtor’s Uncle did with the Uncle Transfers, the
Debtor testified he did not know. Specifically, the Debtor testified at his Rule 2004
Examination:

Q: Okay, and by the way, I skipped over it, but I’ll represent that he had transferred -
- “he” being Manuel Hernandez, the $320,000 also to Beaufort Advisors
sometime after the transfer of the million one - - one hundred thousand dollars - -
well, I know he did. My question to you is: When he transferred all this money to
Beaufort Advisors, what did he do with it all?

A: I don’t know.

Q: You don’t know, okay, but it didn’t come to you?
A: No.

Q: You did not see any of it?

A: No.

Hernandez 2004 Transcript at pgs. 155:14 — 156:1.

70. Indubitably, the Debtor has been untruthful about his involvement with TSG,
Beaufort Advisors, and MH Real Estate Holdings.

71. The Trustee has performed all conditions precedent for the bringing of this

lawsuit or such conditions have been waived by the Defendants.

COUNT I - DENIAL OF DISCHARGE PURSUANT TO 11 U.S.C. § 727(a)(2)(A)

72. The Trustee reasserts the allegations set forth in paragraphs | through 71 as if
fully set forth herein.

73. Within one year from the Petition Date, the Debtor transferred and/or concealed
property belonging to the Debtor with the intent to hinder, delay, or defraud his creditors or
officers of the estate.

74. Specifically, the Debtor made the Uncle Transfers to his Uncle for no or
inadequate consideration, and continued to used the funds that constituted the Uncle Transfers up

to and after the Petition Date.

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75. The Debtor, by virtue of his use of the funds in the ENB Account and his
unfettered use of the funds in the Merrill Lynch Account, coupled with his control of MH Real
Estate Holdings and involvement in TSG, the retention of the benefit and use of the funds
constituting the Uncle Transfers, the existence or cumulative effect of the pattern or series of
transactions or course of conduct of the Debtor after the pendency or threat of suit by his
creditors, and the general chronology of the events and transactions under inquiry, evidence the
Debtor’s actual intent to defraud under Section 727(a)(2)(A).

76. The fact that the Debtor continued to use the funds that constituted the Uncle
Transfers within one year from the Petition Date as his own constitutes continuing concealment
for purposes of Section 727(a)(2)(A).

77. Pursuant to Section 727(a)(2)(A), the Court should deny the Debtor’s discharge.

WHEREFORE, the Trustee requests the entry of a judgment against the Debtor denying
his discharge, awarding the costs of filing this Complaint, and for such other and further relief
this Court deems fair and equitable.

COUNT II - DENIAL OF DISCHARGE PURSUANT TO 11 U.S.C. § 727(a)(3)

78. The Trustee reasserts the allegations set forth in paragraphs 1 through 71 as if
fully set forth herein.

79. The Debtor has failed to keep or preserve records regarding his transactions with
his Uncle, Beaufort, the Merrill Lynch Account, or the ENB Account (among others, including
the Cyber Warehouse account at Charles Schwab).

80. Such failure to keep or preserve records regarding his transactions with his Uncle,

Beaufort, the Merrill Lynch Account, or the ENB Account (among others, including the Cyber

15
LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
3000 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 * TELEPHONE (305) 358-6363
{Firm Clients/8302/8302-1/00900827.DOC.}
Case 11-02015-RAM Doci1_ Filed 05/25/11 Page 16 of 69

Warehouse account at Charles Schwab), was not reasonable and makes it impossible to ascertain
the Debtor’s true financial condition or business transactions.

81. The aforementioned records are necessary to understand the Debtor’s financial
condition and would shed light on what was done with the Debtor’s assets and the factors which
led to his Chapter 7 bankruptcy filing.

82. The Debtor is a sophisticated businessman who has operated numerous business
and real estate projects over the years. Therefore, the Debtor should have kept in his possession
documents that would have evidenced what happened to the Debtor’s assets prepetition and the
reasons for the Debtor’s numerous transfers of his property.

83. Pursuant to Section 727(a)(3), the Court should deny the Debtor’s discharge

WHEREFORE, the Trustee requests the entry of a judgment against the Debtor denying
his discharge, awarding the costs of filing this Complaint, and for such other and further relief
this Court deems fair and equitable.

COUNT Ul - DENIAL OF DISCHARGE PURSUANT TO 11 U.S.C. § 727(a)(4)(A)

84. The Trustee reasserts the allegations set forth in paragraphs 1 through 71 as if
fully set forth herein.

85. The Debtor has made false oaths in this case that were both fraudulent and
material.

86. The Debtor knowingly failed to disclose the Harvey Hernandez Declaration of
Trust dated April 9, 2008 and knowingly failed to disclose the Missing Accounts, and most
importantly, the Merrill Lynch Account.

87. In addition, the Debtor’s Rule 2004 testimony regarding his knowledge of

Beaufort Advisors and the Merrill Lynch Account was false, as evidenced by the Merrill Lynch

16
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Account statements (that were received by the Trustee from Merrill Lynch after the Debtor’s
Rule 2004 examination) which clearly show that the Debtor was using the Merrill Lynch
Account for his own use, even during the month of his Rule 2004 examination.

88. And finally, the Debtor’s testimony regarding his involvement with TSG and MH
Real Estate Holdings was false in light of the fact the Debtor controls and manages MH Real
Estate Holdings.

89. But for the Trustee’s continued diligence in subpoenaing documents from various
third parties and banks, the Trustee would never have discovered the transfers discussed herein
and the Debtor’s unfettered use of funds that were transferred by the Debtor to his Uncle.

90. Each of the foregoing false oaths are material because they bear a relationship to
the Debtor’s business transactions and estate, concern the discovery of assets, and involve the
Debtor’s business dealings and disposition of his property.

91. Pursuant to Section 727(a)(4)(A); the Court should deny the Debtor’s discharge.

WHEREFORE, the Trustee requests the entry of a judgment against the Debtor denying
his discharge, awarding the costs of filing this Complaint, and for such other and further relief
this Court deems fair and equitable.

COUNT IV - DENIAL OF DISCHARGE PURSUANT TO 11 U.S.C. § 727(a)(5)

92. The Trustee reasserts the allegations set forth in paragraphs 1 through 71 as if
fully set forth herein.
93. | The Debtor has failed to explain satisfactorily the loss of his assets or a deficiency

to meet his or her liabilities.

17
LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
3000 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 * TELEPHONE (305) 358-6363
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94. As evidenced by the factual allegations herein, which are all incorporated into this

Count, the Debtor has not been able to satisfactorily explain with any support the Uncle

Transfers other than to say he was repaying his Uncle for a personal loan made years prior.

95. In addition, the Debtor has not satisfactorily explained his real involvement with

TSG; and, the transfer and use of the significant funds, prepetition, in his Cyber Warehouse bank

account at Charles Schwab.

96. Pursuant to Section 727(a)(5), the Court should deny the Debtor’s discharge

WHEREFORE, the Trustee requests the entry of a judgment against the Debtor denying

his discharge, awarding the costs of filing this Complaint, and for such other and further relief

this Court deems fair and equitable.

Dated: May 25, 2011.

s/ Daniel N. Gonzalez

Daniel N. Gonzalez, Esquire

Florida Bar No. 592749
dgonzalez@melandrussin.com
MELAND RUSSIN & BUDWICK, P.A.
3000 Southeast Financial Center

200 South Biscayne Boulevard

Miami, Florida 33131

Telephone: (305) 358-6363

Telecopy: (305) 358-1221

Attorneys for Soneet Kapila, Trustee

LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
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Exhibit C
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THE PARTIES SIGNING BELOW AGREE TO THE TERMS AND CONDITIONS
CONTAINED ON PAGES 1 AND 2 OF THIS AGREEMENT.

The undersigned agree to the terms and conditions contalned on pages 1 and 2 of this

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Signed in the presence of _2*

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REVOCATION:

| hereby revoke (cancel) the herein Power of Attorney as of (date)

Signed (grantor of power)

Grantor signed revocation In tha presence of ¢ ( $ 7 o% yan
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NOTE: It a written revocation notice (other than tha above) was received, the saurce was ___
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NOTE: Financial Institution should fila this document with the signature card of the person

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Case 11-02015-RAM Doci1 Filed 05/25/11 Page 23 of 69

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Case 11-02015-RAM Doci1 Filed 05/25/11 Page 24 of 69

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Certifieate of Incumbency
NAME OF COMPANY: BEAGEORT ADVISORS LTD.

INCORPORATION DATE: Mare) 12, 2058

COMPANY REGISTRATION: 1469498
AUTHORIZED SHARES: 30,006.00

CURRENT STATUS:___w Good Standing

DIRECTORS . DATE OF APPOINTMENT
Manuel Herpeyden March 27, 2008

We, Trident Trost Company (B.V.1.} Limited, being she Registared Agant/Reglatered Offive af the
above Company, at Trident Chambers, P.O Box 146, Road Tawn, Tortola, British Virgin Istinds,
hereby vertify that according fo our records the above information fy correct,

ROAD TOWN, TORTOLA
BRITISH VIRGIN ISLANDS

Dated the 27th day of March, 2008

We SEE OEE Se aT EP TY ONAN TE TT

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BIA™ and WCMA® Account Application

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Exhibit E
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BIA” and WCMA® Account Application ee

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PURABLE POWER OF ATTORNEY -

{This Power of Attorney does not pertain 6 or provide any authority to your agent or
attormeyin-fact to deal with your retirement accounis for which MLPF&S is. custodian)

TO:  Aterrill Lynch, Pierce, Fennac & Smith Incorporated {MLPF&S} and, ifepplicable, Mezill Lynch Life insuren
Company (MLLIC) and ML Life Insurance Company of New York (MLLICNY} .
RE; MLPF&S Account Number(s) .

MULIC Contract and/or Policy Number(s}
MULIGNY Canteact antior Policy Number(s)

NOTE: When used in Ihis-document, the words ‘I’, “me” or “my” refer to atry centinrincigal, whether an
individual ar aa entity, drat executes dhig Dorable Pawar of Attorney.

whose signature appanrs Delow!.
aS pty agent and aflomuy-In-facl, with powerland aulhority to act me and on my behalf in connection wih my
accountis) with MLPFAS ond my MLC and*MLLICNY arduity cortvacsys) and lite insurance palleyjies), nowave:
desigatied, and whather praeanily open or hereaiter cpenad, specifically conferring upon my agent and attomey-in-fac.
those sowets which | have designated below by iniisling the carespanding space provided tp the left of each powar that!
wish tp confer.

PART I: If your agent and attomey-i-fact Is a registered Investment Adviger, choose from the powers
listed balow in this Part I: .

INITIAL GNLY THOSE POWERS YOU WANT YOUR INVESTMENT ADVISER TO EXERCISE

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ammer (8} {PURCHASES AND SALES) fo effect purchases and salgs {including shor Salas), lo subscribe for and Jo trade
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accounts}, whether such secuttias of investiants are In negotiable farm, issued or unissued, of are traded on a
foreign exchange (including any foreign cuntency Tansacilons necessary to effect the imide), fo sell, assign,
endorse and transfer al} types of sacurilles and cartain Investments, including, but got limited tp, stocks, bonds.
options. certificates af indebtadness, or certificates whith avidetice other securilies of any nature, BY any fime
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of employer stock acquired pursuant to such option exercislag: and lo direct payment to other broker-dealers, banks
and other financial service providers for purchases of icades mage af such other fisns, for. my account or accounts
BUMLPFAS, whatror prosently open or hereafter opened.

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eoree {0} (PROXY) lo repeive proxy soticiting materials, annual reports and othar related maigilals aad to vote proxies on
my behalf {or respond to requasts for voting instructions) with respect to a securtiag and other assets hald in my
accounts} ol MUPPES, If this power In initialed, the undersigned cliantprincipal hereby reprasents the following to
MLPF&S: thet the investment adviser designated above is registered undar the investmant Advisers Act of 1945
and thal suth adviser exercises investment discretion over my accounts) at MLPF&S pursuant to an savisory
Eertcact.

NOTE You may revoke ibis power et eny lime Sy providing MLPF&S ealh yeitten nolics that all praxy
soliciting materials, anual reports and other celaled materials are to ba sant dirocily 3 you and are no
tonger lo be sent to your invasiment apviser.

aw (0) (FEES) MLPFES is hereby authorized, upon receipt of Involoas or siatements front the investment adviser
named abowa, fo pay auch amounts in connaction with ha above aecouni(s) to:

Name of lavesh Adviger

Adgtess of Investment Adviser
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tn connection with the above direction, | agree that the lavestmant adviser's fees shalt bo paid fiest (9) trom tree
cradit balances, if any, in my acoqunt(s); and second, {b) fron the Hiduidaticn or withdrawal (which the fenvprinc:-
pot heraby authorizes by histher signature below) by MLPF&S af my shares of any money market funds or balances
In ny aocaunt{s} at MLPF&S. | further agree that MLPF&S shall bo under no other duty or obligation Io pay ine
invastmarit advisers fee, Hat) shall be sorely rasponsibte for verifying the accuracy of calaulation-of fass submitted
for such payment, that the investment adviser named above has bean diracted io submit ari invoice ar sislernent for
each payment of fess to me and io MLPF&S, stalling the clan's narte, which MLPF&S scogunt aumber the lee is
te be paid irom, aud the amount to be paid: this duthadzation shal rarain in full fore aad sifect until terminavea by
one of the panies hereto, and thal such terminaiion shak be affertiva gpon receipt of written nolice by MLPF&S.
MEPFES tngy terminate this fas sayment arrangement at any time.

NOTE: # this paragraph (c} (FEES) has been iniiaied by the ofentpdncipel, the iovestment advisarlagant by
signing below, makes the following reyvegentations to MLPF&S: Thet twe have-entored info an agreément with the
chamiprincipal tor investment anvisory services which authorizes majus to receive direct payment front the client's!
pancipal’s accounl{(s} at MLPFES upon presentation of myfour invaice or sislement to MLPFOS. BWe acknowletge
and agree to alt of the Sovegcing terns and conditions of myaur cHent’s above eulhurizaon 10 MLPF&S, and lwe
agree 10 bold MLPF&S handles for amaants paid to melus upon receipt of mylour diveice or statement,

—_— {d) {DURABILITY} APPLICABLE ORLY TO U.S. RESIDENT CLIENTS (INGLUDING U.S, RESIDENT ALIENS}
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SECOME MENTALLY INCAPACITATED, This durable power of sitornay shail not be affectad by the
subdsequont disability, incempetence or incapacity of the principal or by any fapse of time, (California and
Maing renidants ee Warning or Statemanis below). Also, seo below for additional execution requirements
for duratlilty,

NOTE: * ADDITIONAL EXECUTION REQUIREMENTS FOR OURASLE POWERS OF ATTORNEY EXIST FOR
GHENTS RESIDING IN CERTAIN STATES. THESE ADDITIONAL EXECUTION REQUIREMENTS ARE
SET FORTH iN DETAIL AT THE TOP OF PAGE 6 OF THIS POWER OF ATTORNEY. IF THE CUENT'S
STATE OF RESIDENCE CHANGES AFTER THE CLIENT HAS EXECUTED THIS DURASLE POWER OF
ATTORNEY, THE CLIENT SHOULD CONSULT KATH HiS OR HER OWN LEGAL COUNSEL TO
DETERMINE IF THIS DURABLE POWER OF ATTORNEY SHOULD 8& RE-EXECUTED.

PART Ik the agent and attomey-in-fact ig not a reaisterad fh ent Adviser, chouse from the powers
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INITIAL ONLY THOSE POWERS YOU WANT YOUR AGENT AND ATTORNEY-IN-FACT TO EXERCISE
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foreign. exchange ({inclading any jforelgn currency tensactions necessary to effect Ihe wade}, and to sail, assign,
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margin, or other demands with reference to my account(t), 6 exercise employee stock apiiuns and io atfact wales
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accounts) at MLPF&S or of my MLLIC or ALLICNY anauky contracts) cr tite Insurance policyfies), ot of tean, wilh-

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dtewai or survander valves of those annuity conteacl{s} oF fife insurance polley{ies), on my behalf to any third party,
indluging, byt not limited to, Individuals, entities, trusts or charitable organizations, provided however, the! any such
oltt shall not discharge an obligation of support of my agent aad artomey-ln-fact (such determination shall not be

madg by MLPF&S};

bt {¢) (TRANSFERS; GIFTING AUTEORAY - TO AGENT) to make transfars and gifte of money, slocks, Sonds,
options, limited partnership interests, trust units, or other securities, or any other property or investments, from my
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withdrawal or surrender values of thase anaully contracl{s) or Gfa insurance padicy(ies), on my behalf to my agent
and alttomey-in-latt, provided hawaver, that such gffts ae for my agent and attompy-in-tgol's heahh. education,
support or mainignance (suet defennination shail not be made by MLPF&S);

NOTE: if you haye Initisied paragraph {c) or (d) in tits Part U of ths Power of Attorney, you have given your
agent end attoroy-in-fact the autharily to give away your assets to third parties or to your agent
and attorney-In-Fact, # you do not want your agent and aitorney-in-lact to have this authonty, de not
iniial paragraph (c) or (d) of tls Part Hof tha Power of Attornay. if thore is anything aboot this
Power of Affornay that you de nat understand, you should consult your own attorney.

HEX _ ce) (CHECK WRITING) to mane and deaw checks:

ait {) (TAX DOCUMENTS) to execute tax forms related to my actouri{s) at MLPRBS, Including, but not tinted to,
forms which cetily my taxpayer identifesiion nuniber, backup withholding status, foraign status andor tex
residency; .

Ax. (a) (LIFE INSURANCE POLICIES) to exercise all available owership tights on my MLLIC and MULICNY
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a6 to the cash valua and death basefit of tha policyfies);

He 4h) (ANNUITIES} fo exercise alf avaiable ownership ights under my MLLIC of MLLICNY contracts}, induding, but
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value, to make withdrawals from tho contract{s}, to codaterally atsign the contract(s}, to change tha beneiiciary
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—-~ (i) (BURSBILITY) APPLICABLE ONLY TO LS. RESIDENT CUENTS Q(NCLUDING U.S, RESIDENT ALIENS}
QNITIAL ONLY {F YOU WANT YOUR AGENT TO CONTINUE TO ACT ON YOUR ACCOUNTIS) IF YOU
BEGOME MENTALLY INCAPACITATED.) This durable power of attorney shall not ba affected by tha
subsequent disability, Incompetence or incapacity of ihe principal or by ony lapse of time. (California and
fiaine residents sue Warning or Slutements dslow). Also, see below for additional execution requiremonts

ior durabbity.

.

NOTE: "AGDITIONAL EXECUTION REQUIREMENTS FOR DURABLE POWERS OF ATTORNEY EXIST FOR
CUENTS RESIDING IN CERTAIN STATES. THESE ADDITIONAL EXECUTION REQUIREMENTS ARE
SET FORTH IN DETAIL AT THE TOP OF PAGE 6 OF THIS POWER OF ATTORNEY. IP THE CLIENT'S
STATE OF RESIDENCE CHANGES AFTER THE CLIENT HAS EXECUTED THIS DURABLE POWER OF
ATTORNEY, THE CENT SHOULD CONSULT WITH HIS OR HER OWN LEGAL COUNSEL TO
DETERMINE JF THIS DURASLE POWER OF ATTORNEY SHOULD BE RE-EXECUTED.

| heve inquired as 19 whather or eot my agent and altomey-ia-fact is registered for ia otherwise exempt from raglstration)
with the Securities and Exchange Commission undar tha invasiment Advisers Aci of 1940 end vath the appeopriate state

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authority of my state af residence, where such registration would ba required. in additign, | have investigated the business
axparlenco, qualifications and sapulation of my agent and atomey-infact anc am satfsfiod with Ihe exppronce,
quatificatons and reputalion of my agent and attomay-in-fact. .

Hf | have appointed lwo or more agents and attomeys-iretact, | hereby authorize them to act alone and without he cangent
of the ather sgent or agents, with regpact to ibe powers grinted above. ln addition, | hereby authorieg MLPF&S, MELIC
and MLLICNY to reetict my accaunit{s), annuity contract{s) and bls insurance policyfies) from tunher actvity in the event
he agente erier ooniicting or incondistent instructions. | understand that my accounts), annuity conlraci(s) aed fe
insurance policyfies) may remain resticted unt! written instructions ara received from ma, the principal, ot unit joint
written ingingciions are submitted by alt of ny eyents.

MUPF&S, MLLIC arid MLLICNY accordingly are authorized and empoweratt to faliow the instructions of my said ageat ang
atiomey-In-fact wilh regpest to 818 pawers set forth and initialed above with saapect to my account(s) at MLPF&S aod my
MEUC and MULICNY annuity contract(s} arid life insurance policy{ins), provided Such instructions and trangactians are
pompissible under the terms of my appScabla account agredment(s) with MLPFAS and my MULIG and MULIGNY ancuity
contaci(s) and life insurance policyties), and ! hereby catlly and confion any and ail conspciions, irades or dealings
elfecied in and for my MLPF&S sccount(s} and with regard to my MLUC and MULICNY annuity contract(s} and tile
insyrence policy(ies) by my agent and attorneay-infact, and agrae to indemnify MLPF&S, MLLIC and MLLICNY. their
alfiistes, officers, agents and srployees of MLPF&S, MLLIC, MLLICNY and thelr afilllates and hold tham free and
harmless from sny loss, IabSity, or damage by reason of ety such transaction, rade or dealing, of by reason of any olker
maiter or thing dong by MLPF&S, MLLIC and MLLICNY, thair affiliates, officers, agents and employees of MLPF&S.
MLUC, MLLIGNY and thalr affillates In and for my account(s) at MLPFES and with ragard to my MLLIC und MLLICNY
annuity contrect(s) and fife Insurance poligy(tes) pursuant ic Instructions received from my agent and attomey-intact.

This power of attomey, authorization and indemnity is in edition to {end In no way limis of restricts) any and all rights
which MLPF&S, MLLIC and MLLICNY may hove under any other sgreemem or agreements batween MLPF&S, MLLIC
and MLLICNY and me, and shalt inure and contnus in faver of MLPF&S, MLLIC, and MLUCNY, thair succeseans thy
menger, consoxdation av otherwise) and assigns.

This power of atiomey, authorization and indemnity shat not be atfected by lapse of ta, {t shall continue én full forge and
effect, and MLPF&S, MLLIC and MLUCNY, and thelr successors and assigns shak be lnderinified in ralying thereon, watt
MLPPAS, MLLIC and MLLIGNY ahall recelve wykten notice of revocation dhareof, slaned by me: or In the event of ine
lermination thoreof by my death, ot my mantal incapacity if 1 have not sleciod to make this power of atlomay durabze).
unl MEPFRS, MLLIC and MLLICNY shall have recaived actual rotiza thereof, and such revocation or tanmination shalt ss
ro way allest the validity of this power of alomey and my Bability undes the indemnity herein contained, with reference lo
any {ransaction initiated by my agent and altornay-In-lact, prior to the actual racaipt by MLPF&S, MLUIC and MALUCRY of
nanice of such revocation av termination, as above provided. .

Te induce any trans(ar agant of other thitd party & act, | hereby dgree that any vansler agent or olhar third parly reqoiving
a duly executed copy or facsimile of this power of attemey may act upon 2, and that revocation oy taaniaation hereef shail
be inatfsciiva as to such transfer agent or ciher third party, onioss and unt acta! notice or knowledge of such revocation
or fanmiration shall have bean cecelved Dy such fransfer agent of othar thd party, and | for myseil amet for my heirs,
oxacutorg, lagel repsesertatives and assigas, heraby agree to indemnify and pad harmless any such transler agent cs
olher third party trom and against any and ail clalats ihat may arise againgl such transfer agent or other third pacty by
resson of such teansior agent of third party having refed on this power of attomey.

} have read caraiully the provisions of this power of allomey and understand that It suthorizas my agent and attomey-in-
fact, herain named, to exercise all rights ind powers set forih and inillatad above with respect to my account(s} ~with
MLPF&S and my MELLIO and DALLICNY annvily contract{s) and Efe insurance palicyiies), snd { caxdarstend that anything
niy agent may do in Ihe axercise of suoh sights and powers {3 fully binding upon me.

S undersiand that MLPF&S, MLLIC and MLLICNY have not provided any advice that this power of attczney salisties tha
requirements under the laws of the state in whieh it is to be effective, and If thace ig anything about this power af alternes
that | do nol understand, {should consult with my attomey for an explanation.

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NOTICE:

This is aa important legal document. Bafore axacuting thts Power of Attornay you should know these important
facis:

4. Depanding on the powers you have authorized for your agort and utfomey-tn-fact, this document may provicn
the parson you designated aa your agent and attornay-in-fact with broad powers including, but not limited to.
the management, transfer, withdrawal, yifting or sale of the assets in your MLPFES account snd of your MLLIC
and MLLICNY annalty contract{s} and Bifa inisucance policyfies),

2. I you have selected durability (paragraph (d) wader Part | or paragraph {1} under Part 0), your agent's ard
attomnay-in-fact’s authority will continue notwithstanding your subsequent mental disability or treapacity.

3, You have the right fo evoke of terminate thls Power of Attorney at any Une and any su¢h revocation or
termination shall ba effective upon rocelpt of written notice by MLPF&S, MLUC and MLLICNY.

4. ifthere ls anything about this Power of Attomey you do not understand, you should consult with your own
attomey,

pated this__{LTH day of Ny A\ , oft.
- WITNESSES’ (one witiasa is always required, saa bolow to
dateriging If an additional witness is neceagary):

(3

(2)

Tite (e.g. Trustec. President, ofc.) «tf APPLUICASLE

CERTIFICATE OF ACKNOWLEDGEMENT OF NOTARY PUBLIC
"(see below to determine if notarization fs required)

STATE OF £ Lopes

. - 38,
COUNTY OF “Zar pad . }

‘On this, the Leb day of Apache ' wer, , before me, EPL oe x f th .
a Notary Pubile In and for sald County and State, personally sppeared cost? Akegetye fan,

{name of ehantprincipal)
OhBersonaily knews to me ar. proven to mean the baals of sallsfactory evidence-to be the person whose
name ig Bubstribad to tha within instrument add whe acknowlodged to me that shethe executed the

same,
Gf WAR PADNETLAN, ETRE!
PES. ENRIOUE VILA & WIETHESS my hand and official sex:
4 MYC GONME SH1O% 3 ote oy
{SEAL) ey CaPRise Are eS $
REAL Hh avy Yoowe Nex. te, 2 * : a?
iG

4 Stanatre of Agan 6 eee Agents Social Security or Tax ID Number
Name of Agent's Eitiployar, any Agent's Gecupation
Agent's Address . Agant's Account Number(s), af LEFES. F any
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= at pita he ot 8. 2 5 a

IF THE CLIENT/PRINGIPAL J5 A RESIDENT OF:

ARIZONA: This power of attomey fom may nol be used by Arizons sesidants. Use the Code 1298, Arizona Ourabla
Power of Atromey. .

CALIFORNIA: This power af attorney must be notarized af ‘witnogsed by tao individuals, other than tha agent, Also, see
atlached Waming raquired by California Probate Code -§ 4128.

CONNEGTIOUT: This power of attorney raust be witnessed by hye individuals,
FLORIDA: This power of attomey must bo wiineased by hwo individaais,
INDIANA: This power of altortiey must be notarized,

(WAING: This power of aitomey must be actaized,

NISSOURI: Thig power of attomay musi be notarized.

NEW HAMPSHIRE: This power of attornay must de nolarized.

NORTH CAROLINA: The client must ragistar this power of ailomey Ix the olfica of ne Regisier of Deeds in a county
wilhin dhe state, In cater of preference, where {1} the clientiprincipal has legal residence, {2} the chent/pringipal owns
property, oF ¢3} the agent esites,

TEXAS: This power of atlomey does not require a wiingss" signature: however, it mist be naterized,

SOUTH CAROLINA: This power of attariey must be witnessed by two Individuals, Also, ihe client must record this power
of attornay in the county where the cliont/principal resides at the dinte the inswument is recomded. fn. audition, the felawing
probate clause must ba completed by ong of the shove witnesses and notarized aecordingly.

STATE OF SOUTH CAROLINA
} PROBATE
COUNTY OF ‘

PERSONALLY appeared before me the undersigned witness whe, betng duly eworn, says that she/he saw
ths above-named Principal, sign, saal, axecute, and deliver es hiafher act and deed the faregeing Durabie Power
af Attarnay for the purposes and uses hereits described, and that shefha with the other witness above, at the
request of fhe Friscipal and In tha prosarice of each other, witneesed the execution thereof and subseribed their
names ag witnessed thereon,

SWORN TO before me this
day of . 20

Witrass

NOTARY PUBLIC FOR SQUTH CAROLINA

My Convrission Expires:

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Me ee te tee BA ee ee : ” tne ee ce ee ee eer ee tyes ee

NOTE 70 ALL CALIFORNIA RESIDENTS: California law requires MEPF&S to provide this seanning to
you terhatin; however, eertaia sections af this warning may be inapplicable to this Power af Auerney. if
there fs anything about this Pawer of Attorney rat yout do not unrlerstani, you shauld consult with your
oun attormmey. . .

FOR ALL CLIENTS WHO ARE CALIFORNIA RESIDENTS,
PLEASE READ THE FOLLOWING WARNING WHICH IS REQUIRED BY
CALIFORNIA PROBATE CODE §4128:

A-durable power of attorney [s an Important lagal document. By signing the durablo powor of attorney, you are
authorizing anothar parkon te act for you, tha principal, Befora you 2ign thie durahle power of attomay, you
should know these important farts:

Your agent fattomey-in-fact) has no duty fo act unlass you and your agent agree athanyise in writing.

This document gives your ugent the powers ta manage, digpose of, sall, and convey your veal and parsonal
property, and te use your property ax security if your agent borrows monky on your behatf,

Your agent wil have the right to recelva reasonable paymant for services provided under this surable power of
attomey usiese you provide otherwise ict this power of attamey.

The powers you give your agent will continue to exist for your snilre lifstifné, wilsss you state that the durable

power of sttomoey wi! last for s shorter perfod of tlme or unless you otharwise ferminste the durable power of

attomey. The powers you give your agent in this durable power of attorney will continue to axist evon Ifyou can
. ng longer make your own decisions respacting the managomant of your property,

You can amend oy charge thie durable power of attomey only by execuiing a naw durable power of aitomey or
by executing an amendmant through the same formalities as the ofiginal. You hava fhe right ta revoke or
terminate this durable power af sttoray at any time, so Inng as you ara competent.

This durable power ofatiomey muat be dated and must be acknowledged bafore a notery public or signed by two
witngsses. if it is slgned by two witnesses, iney must witness either (1) the signing of the power of attorney or (2)
the principal's signing or acknowledgement of his or her signature. A durable power of atlomey thet may affect
real proparty should be acknowledged before a notary public so that It may easily be racerdad.

You should read thle durable power of attamey caretully. Wher affective, this durable power of attorney will give
your agent the right ta deal with property that yau dow have of might acquire Jn ihe future, The durable power of
attomey is important te you, ff you do not understand te durable power of attorney, or any provision of it, then
you should alitain the ahalstance of xt attomay or other qualified parson, .

*

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This REVOCABLE TRUST
SEP(LEMENT AGREEMENT (the
‘Apreement”) is made and dated April
aq , 2008 by aud between MANUEL
HERNANDEZ, as Settlor and Trostes,

MANOXL HERNANDEZ desites to establish a sevecable Wust setdement for the
beastit of himsstf and others on the terms and conditions hereinafter pet forth.

MANUEL HERNANDEZ (who is hereinafter, in his iadivides] capacity as the ereator
of the mat established hershy, sometines referred to as the “Setdar™} hereby transfers aad
distributes te the Trustee the property described in Schedule A annexed kereto and the Trustee,
for himasif and his successors, acknowledges receipt of that property and further narees that he
shalt hold, javest, reinvest and otherwise deal with that. property aad suck orber property as aay
be given, bequeathed, devised and otherwise transferred to the Trustee for the purposes hereof
(ibat property and aay sech additional property and the proceeds and reinvestments thereof fram
time te sime held Rercunder being herein collectively referred to as tha “Trust Estate"), in trust as
hereinafter provided.

The tnust provided for herein during the Hite of MANUEL UERNANDEZ may be
referred to as “The BORA TRUEST SETTLEMENT” and this Agretment indy, in relation to
ihe task or nuts from time to time hefd hereunder, be referred ta as “The BORA
REVOCABLE TRUST SETTLEMENT AGREEMENT dated April__@__, 2608”.

Artiete j
‘Trust for Setter

During the iife of dhe Settlor, tht Trustee shall hold the Trust Rstnie for the benefit of the
Settior and shall pay lo use Seitlor so sich, if any, of the net incon thereitom and principal
thereof, without limit as te amount, a3 the Sector shall at noy dine request in writing ar as the
Trusteo shall, in iis absolute discretion and without any such iequest, sliot foe the Sealor's
healehi, sainteaance, edocution, and support. It is the Setttor’s intention that all health or medigad
related expenses susoctated. with the Settlor shall be paid from the trust, Any income not
disribated shall be accunralated and added to principal, Pollowing the fiest 99 accur of the death
of the Setar or the death of the Settor’s nephew, HARVEY HERNANDEZ, ibe Trustee shall
deal with the Trust Estate ag hereinafter povided.

Article I
Payynenlof taxes ond Trust Expenars

The Trustee shall pay front the Trust Escafe all proper expenses of administering te Trust
and all income, estate, inheritaace, generation-skipping and other succession taxes, if any,
Muibutable to the Trust Estate, inckiding any interest und penalties relative Unereto, which shad
be payable by reason of the Setttor’s death.

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Articte WE
Residvary Trust Estate

Following the first to oceur of the death of the Scttlor or the death of the Settlur's
nephew, HARVEY HERNANDEZ, hatin po event later lian vinety (90) days after occurrence
af such event. if the trast owns uy shares of a corporation. the Toastee shall arrange for the
waster of sack shares to the ukinale beneficiaries us stated in this Trust. The balance of the
Trust Bsaae which renting {after making or providing for all payments which shall be required
to be made under Anicle IJ of this Trust} is herein referred to as the Kesiduary Trust Estate. The
Trmes styl sot apart the Residuary Frast Estate and distribige it outright to the HARVEY
HERNANDEZ DECLARATION OF TRUST dated April , 2008.

Artichs IY’
Provisions for Linton of uration Trusts

(A) ‘The trusts created under this Trust shall terminate on the earlier of;

C1) such dute as tie Seulor shat] specify in this Trust (not being a dute caries
thun Ehe date ofthe execution of such deed}, ot

é2) the ler day of the period of one hundred (10D) years commencing with the
clate of this Trust (which oumber of years shall be the perpetuity porids) applicabte 16 this
Tres3),

(B) If at fhe termination of any trust created hereumles, the principat oF such trust
shall mit buve been distributed to any beneficiary beccunder, shen the principal shalt be
distributed to the iutented beneficiary in acourdance with the terms of die Trust hereby created.

Artieh ¥
mets OF Trustee

fy adslition to, and without in any way limiting, any powers or authority which the
‘Trasles would hivve in the absence of this Article, the Trustee is hereby authorized, from time to
Gre and in his absolute dtserction:

iA} without regard for any Iaw prescribing or limiting the investment powers of
fuluciaries, to retain ony property of soy kind (including securitics issued by any corporation, or
any affiliate of any corporation, serving as Unaste: hereunder) and to invest in any property of any
kind,

(2) to sell, at public or private sale and for cush oy on credit, with or without security,
orw exchange, or to grant options upoa, say property on any terms;

(C> te dease any property for any term. without regard for uny Linitation imposed by
fay of for the probable duration of the sidministration of any trugt held hercunder;

{D) —t partition or improve any property, 6o demolish, remodel or erect buildings or

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ather structures oa any progeny, and to foreclose, extend, assign, release partially or discharge
any lien on eny properly:

lE} to borrow money from anyone (including any individual or corporation serving as
Trusice berunder) and fo secure the repayment thereof by morigage or pledge of ally propeny:

(Fj) @ fenil mmmey to any beneficiary hereunder either with or without security and on
such other terms as the Trustee nary deen uppropriate;

{G} se seitts oF Compromise airy claim in favor or against ally trust held hereunder,

¢H}) to vole in pergon or by proxy, or ty refrain frome voting, in respect of any
sccurities, and to entey Inte any voting trust or similar declaration:

(1) swith cespoct to any securities, to eamsent or abject lo any action cr agnaction of
any eprportion, or of the directors, officers of stockholders of any corporation; and ta deposit
way securities under any reorganization ox other declaratin or with any eoumpiitee, depasitary.
agent oF Lugtee, ad to pay fees, assessments and expenses relative thereto:

{3} to exercise or sell any rights of subserpthys or other rights received in respect of
any securities;

(K} to register securities in the name of any nomines, with or without Indication of the
capacity hy which the secusitios shall be held, or to hold securities in bearer forny

iL} ot employ fegal counsel, accountants, inyesuuent adybers. brokers and other
agents oF employees, aml to pay to theni masonable curnpensation:

(M}  napwithstanding asy provisions of this Trust requiring the holding of (vo o¢ wore
separate tusk funds, to hold, ssanoge and invest any two or tore of such finds as a consolidated
fund it which esch separate find shall have an sppropriete undivided Interest. or, iP any two ar
more of such tunds shal? be held on the sanie terms, to combine chen into a single fiand;

iN} — w shocatec io income account or to principal account, or in pret to each, any
insy, Mosk distributions or offer propery received, and to charge to either of such accounts, or
in part in each, any tincluding taxes, and interest and pensties celative lhe, and Trasiec’s
commission) paid cr loss incurred, a8 Uhe Trustee shall dest equitable, having duc regard for the
intecest of the ficome beneficiaries aad the sematndezmen, and, in particular, to determine
whether, aad if so. to what extent (a) preniiums on securities acquired ata premium shall be
amortized, (b} uceattint shal) be taken of discounts ia the case of securities acquired at 3 discount,
fc} receipts trom wasting lavestments shall be allocated to principal acount, or (4) rentals from,
improved real property shall te withheld as 0 reserve for depreciation in respect of such
propery;

(O} to make payment, division or distribution of itcome er of principal in kind of in
money or partly in each and without regacd for the manner in which any other payment, division

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or distribution may have been made, nad, in the case of any division into shares. 10 nml<e up the
srveral shares of similar or af different property:

(P} ft connection with the exercise of any discrerlonary powers with respect 10
payments of income or principal t& sny porson, either to take into account or to disregard, as the
Trustee shalt deent appropiate in the partienfar cheametinces, say Finacial resources which
rgy be available to such porsat. otherwise than under Uns provisions of this dechuption,

(3 w revelve and deceps ag an addition to the principal of any trust hereander any
poopety which shall be acceptable 10 the Trustee and which shell be giver, bequeathed, devised
or othenveise transferred to the Trustee for the purpose of such trast.

{#} to apply for the benefit oF any person any amount, whether of income or of
principal, which under any provisions hereoy cauld be paid directly 1 her;

3) w remove fromthe British Virgin Islands any propesty af any tine tocated in that.
jurisdiction and, for ns long as the Trastee shell deem i advisable to do so, to keep such
property, or any olller property vt any Lime comprising a part of the Trust Estate, in such place or
places, whether or noe withis the British Virgin Islands, as the Trastee shall detenvdne: and

kT} guaerally ta oxerelge in respect of any property any power which ap absolute
owner of sach property would have.

Aaticle VI
Other Provisions Concerning Trustes
(Aj ff the Settior shall for any reason cease to serve or shall be unable fo att as &
Truster herstuder, the Settlor's datiehtey, , and , Shall ,

serve as suceessor Trustyes, Ad] decisions made by the Trustees shall he by unanimous conxent
untess otherwise specitied in this gust.

{By The Setthor shall not receive compensation for his services as a Trustee hercunder.
However, cack other Trustee hescunder shall eeceive such contpessacon, F any, in acegrdance
with its published schedule of fees then in cifect or, if none, as shall have been provided for ina
written agreement betiveen such Trustec and either ust Settlor or the other parson or persons who
shall have eppainted such Frostee as hereinafter provided, or, in the absence of any such
agreenvent, #8 shal] be reasonable gader the faws of the British Virgin tslaads.

(C} Additional or successor Trustees nay be appointed at any tiie: (1) by the Seiler,
or (23 if the Sertior shall not bs living of able to ext, by the individuaje then in office as Trastee,
acting emmimoasly; or (3) if there is no individual then in office as Trustee, by the majority of
adult beneficiaries under this Trost; provided, however, that {a} thare shall nor at apy fine
follawina the Setror’s death be more Uhsa one corporation or more than Uva (2) individuals in
office as Trustees of any trust: xed (b} no corpomtion shall be eligible for uppolatment unless ar
the time of its appointment it shall have, as shown by its then most secently published finencial

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staement or repork: (i) total capival funds of at least 29510,000,000; or dil) srust and other
mVESTNEN ussets Yoder Mangement of a value of at Ieast US$100,000,000.

(Dy Any trutividual Trustee omy resign by inserument signed und acknowledged by
hiny ot her and delivered to his ar her Co-Tramees.

{E) Any appoimment of a Trustee stall be effected by instrument signed and
acknowledged by the person authorized to tke the action ami delivered to the individual being
appotnied.

{PF} Any indjvidual in office os a Tresiec hereunder may at any time, by instrument
signed acd acknowledged by him and delivered to his Co-Trostees, delegate, or revoke the prior
delegation off aay one of more of his powers or authorities ag such Trustee, whether or uot
discretionary, 10 any oke or more Of his -Co-Trastess,

(GO) Aay corporstion which shall, by merger, consolidation, purchase or otherwise,
succeed tu all or substantially all of the perscaal trust busiogss of any compootion ther in office
ug 4 Prastee hercunder shail thereupon and without ay appointrrent, assignment or ather action
by sayone succeed to office hereunder. .

(H} To the full extent legally possible, each individual or corporation serving as a Trustee
bercunder is hereby released from any obligation, in any jurisdiction, to Eurmish any band or
olber security, to file any inventory. to render any annual or other periodic accounting, or te
obtaia the approval of any canrt befor: applying. distributing, sellieg or othenvise dealing with
any pregperty.

Ani VIL

Simuttapeous Degth

(A) UE thece shall be insel¥iclent evidence that the Settlor and any other individual
ieferved fo ja chis Trust died otherwise than simultancously, the Settlor shell be conclusively
presumed (a dave survived such individual.

{B) if che indiviival for whose primary benefit a trust hereunder shall have been
cslablished after the Settlors deatt: and a remaindermoen of such trose shall die in such
clremaishiness thet there shall be tnsulfigient evidence that they died otherwise thact
simaltancously, sach individual shat, for all purposes of this Treat, bt conclusively presumed to
have survived such remugindenman.

Article VINE
ect dmert

The Sector reserves the right from time to time, by insurument signed and acknowledged
by the Settlor add delivered to the Truster, 0 revoke this Trust and the trusts created hereby, in
whale or ia part, or 10 umend any of the provisions of this Taust; provided, however, that 19

http://mptelecpsv20.amrs.win.ml.com/cdol/imageholder.aspx?print=yes&doctype=ml_snaps... 1/5/2011
Case 11-02015-RAM Doci1 Filed 05/25/11 Page 48 of 69

“

Page 57 of 111

amcodineat shall be effective to increase the duties, powers or responsibilities of the Trustee
withour the written consent of the Trustee,

Anticie IX
Governing Law

This Agreement and the trusts created hereunder shall be governed by, and consirited and
enforced in accordance with, the laws of dhe British Virgin fslands. In accordanes therewith, the
Sertlor expressly rejecis the application of the forced heirship laws of any foreign jurisdiction,
Notwithstanding anything to the contary contained in this Agrecusent, in to cetor shatk CL} this
Agreement be considered un agreement created umfes the laws of the United States; or (2) any of
ihe trusts created hereunder 4 United States situs unist for purposes of the Infernal Revenue Code
of £986, ag amended,

Acticle X
Ci i trains Li

If it appears to the Trustee, in the absolute discretion of the ‘Trustee, that the British
Virgin Ishusl ave, or may become, an unsuitable jurisdiction for the administration of this
Agreement and any of Us trusts created hereunder, the Teustte may change the goverdiag kev
ant the jaw of the administration of this Agreement ard anty of the trusts created Agreunder, 30
for as the law or Jurisdiction chosea by the Trustee will not subject this Agreemert or any of
the trents created hereunder to the jurisdiction of a court within the United States.

Arlete Xf

Lair Sey

The right of any persan to receive any amonnt, whether of income or of principal,
perstent (9 any of the provisions of this Trust, shall not, iu any manner, de anticipad, alienated,
asstoned or encumbered and shall net be subject to any legal process ar barikroptcy or insalyency
proocediag or la interfercnes of contol by creditors of otters.

Article X17
Definitions

Wherever used in this Trust, except where the comtext shall clearly require uthervise:

tA} the term “property” shall inelude real, personal and mixed property, tangible or
intangible, of any kind and wherever tocated, Inckeding securities and interests in any so-called
‘connie trust fends:

(B} (he term “Prustee” shall mean at avy time with relation fo any trust hereunder the
Testes or Trustees of that trust iken in offiess

iC} Words in either the masculine or the faminine form shall be decaxd to iatlnds or
relate 19 both rantes and females and, where appropriate, corporations or other entities; nud

http://mptelccpsv20.amrs.win.ml.com/cdol/imageholder.aspx?print=yes&doctype=ml_snaps..._ 1/5/2011
Case 11-02015-RAM Doci1 Filed 05/25/11 Page 49 of 69

Page 58 of 111

(D>  werds either in the singular or the plural mumber shall be deemed to iaclude barks
ihe singular aad tine pharal numbers.

IN WITNESS WHEREOS, the Settlor and Trustee. have executed this Trust Settlement
this “J___ day of April, 2008.

WITNESSES: “SELTLOR

}
MANU HERNANDEZ

(Printed name of witness}

{Printed nae oF witness) “TRUSTEE”

One
fo

(Printed nanse of witness)

(Printed same of witaess}

ot

http://mptelecpsv20.amrs.win.ml.com/cdol/imageholder.aspx?print=yes&doctype=ml_snaps... 1/5/2011
Case 11-02015-RAM Doci1 Filed 05/25/11 Page 50 of 69

Transfer Search Detail

Printed: 08/06/2010 14:40:17 Pago: 2
IMAD #: = 20090112MMQFMP35000008 Ref#: 090112W101719465 Outgoing Wire CTR/1000
Account # ad MANUEL F, HERNANDEZ
Offset Acc # 3110108 GL WIRE TRANSFER CREDIT Value Die: 01/12/2009
Amount = 310000.00 Fee Amount 60.00 Charge Fee to BNF= No Fed Cycle: 01/12/2009
Date Recelved/Sent = 01/12/2009 Time in 01121119 IMAD = 200901 12MMQFIMP35000008
Date Generated = 0122009 Auto Post Yes OMAD = 200901125187TQ1C001743
Sender ABA 5 ‘ Sender Ref.=
Recelver ABA = 043000261 MELLON BANK PITTS RFB=
ORG =MANUEL F. HERNANDEZ BNF = MERRILL LYNCH
D 9008620906 D 1011730
4790 CORAL WAY UKNOWN
SUITE 100 SWIFT MELN US 3P
MIAMI FLORIDA 33145 ,00000 PITTSBURGH US
OGB = BK =
us
BBK =
US
OB8l™ REF: BEAUFORT ADVISORS LTD
ACCT NO
INS =
COMMENT

Composite

Exhibit G
Printed: 0806/2010 14:40:17 Transfer Search Detail Page: 1
IMAD #: = 2008050 1QMGFT015002980 Ref: 080501W130727985 Outgoing Wire GCTR/1000
Account # =90 MANUEL F, HERNANDEZ
Offset Acc # = 410108 GL WIRE TRANSFER CREDIT Vatue Die: 05/01/2008
Amount = 1100000,00 Fea Amount: 50,00 Charge Fee to BNF= No Fed Cycle: 05/01/2008
Date Recelved/Sent = 05/01/2008 Time in IMAD = 20080501QMGFTD15002980
Date Generated = 05/01/2008 Auto Post Yes OMAD =
Sender ABA = 067002533 EASTERN NATL BK Sender Ref.=
Recelver ABA = 043000261 MELLON BANK PITTS RFB =
ORG =MANUEL F HFRNANDEZ BNF = MERRIL LYNCH

D s0f D 1011730
1780 GURAL WAY UNKNOWN
SUITE 100 SWIFT: MELN US 3P
MIAMI FLORIDA 33145 ,00000 PITTSBURGH
OGB= IBK=
us
BBK=

COMMENT

OBI = REF, BEAUFORT ADVISORS LTD
ACCT NO. i 33
PITTSBURGH

INS =

US

US
Case 11-02015-RAM Doci1 Filed 05/25/11 Page 52 of 69

‘ About Us | The Solution Group Page 1 of 4

Language: English Espafiol
The Solution Group

Hello, Guest Sign In | Register Now | News | Terms & Conditions

» Home

About Us

Que Services
Distressed Properties
Market Ressaroh

ISG Realty
ISG Properties

act

About Us
About Us

The Solution Group Corp is avertically integrated organization which has developed and fully imp! d a Distressed Assets Program to
maximize return on investment in the Jocal South Florida market after the real estate boom. The principals of TSG have over 50 years combined
experience in real estate development and sales arid have collaborated in designing a system through which distressed real estate assets are
acquired at a significant discount from their highest historical value or their replacement value, and after rehabilitating the properties, sell them for
significant profit to end users or investors seeking income producing real estale,

TSG’s divisions include Financial Analysis, Acquisitions, Property Possession, Construction and Rehabilitation, Sales & Markeling, Leasing and
Property Management, TSG's affiliates include TSG Realty, a Florida licensed real estate broker.

Our Team

Harvey Hernandez
Chainnan of the Board and Managing Director
bhe:

Camilo Lopez
President and Managing Director
0) e. n .

Raul J. Sanchez de Verona
CFO / COO — Managing Director
raul@thesolultiongroup.net

Luis Marin Cuadrado
Financial Anslysil
Juis@thesolutjongroup.net

Luis Fernando Manrique
Business Development Manager

Wettees Hewninee Hhannhotinn cenun anthnhnost!

Exhibit H
Case 11-02015-RAM Doci1 Filed 05/25/11 Page 53 of 69

‘ About Us | The Solution Group Page 2 of 4

[fnenrique@thesolutiongroyp.nel
Xochitl Valdivieso

Broker — TSG Realty
chit i 19.0

Barbarn Besu
Acquisitions Processing
i 4

Frank Rodriguez
Construction Manager

frank@thesolutiongroup.net

Alfredo Haack
Marketing Director
alfredo@thesolutioneroup,net

Orlando Yepes
Property Maintenance
-orlando@thesolutiongroup net vane wae ween eee nee cme meena

Outside Professionals

Mario Sariol, CPA
Verdeja & De Armas CPAs
msariol@v-dena.com

Nora Galego, Esquire
Galego Law Group
nealego@palegolaw.com

Paul C_ Savage, Esquire
Law Offices of Paul C. Savage, P.A
paul@sovagelegal.com

httin- fhm: thannlutinnavnves watinknwe! TAINAINAIN
Case 11-02015-RAM Doci1 Filed 05/25/11 Page 54 of 69

Mep 14

The Solution Group

July 21, 2010

Weichert Realtors, NuStar Associates
13055 SW 42 St Ste 107

Miami,.FL 33175

Re: 4470 NW 95" Terr Sunrise, FL 33351

To whom it may concern:

Please be advised that effective today I am cancelling my listing M1391864. located at
4470 NW 95" Terr Sunrise, FL 33351.

If you have any questions feel free to contact me.

Sincerely,

The Solution Group Gorp.

TSE Reslty - MH Real Estate Holdings LLC - REF Broward LLG ~ 1B Equity Holdings LLG - TSG Synergy Opportunities LLG ~
Gamma Opportunities LLC ~ TSG Equity Holdings LLG - Catalpa Capital Corp. ~ MFHS Holdings Corp - DBFund til LLG - Baza
lnvesiments LE ~ Federal IV LLG - HAP Realty Holdings LLC - Grupo Spira Corp - LS Equity Holdings Corp

Two NE 40 Street, Sulte 204, Miami, Florida 33137 * 7 305 438 1259 * F 305 438 1289

Composite

Exhibit I
Case 11-02015-RAM Doci1 Filed 05/25/11 Page 55 of 69

The Solution Group

MH REAL ESTATE HOLDINGS LLC
C/O THE SOLUTION GROUP
TWO NORTHEAST 40™ STREET, SUITE #204
MIAMI, FLORIDA 33137
TELEPHONE (305) 438-1259
FAX (305)4381289
EMAIL: monika@thesolutiongroup.net

June 24, 2010
Re:

4950 E Sabal Palm Blvd No. 210
Tamarac FL 33319

.To whom it may concem:
Please be advised that we are the legal owners of the above captioned property.

We hereby authorize Linda Fiorello and/or her employees of Luxury Realty Partners to
have access to our property, negotiate any rents and/or leases therein.

Should you have any questions do not hesitate to contact the undersigned.

PLEASE GOVERN YOURSELVES ACCORDINGLY.

Harvey Hernandez
™

The Solution Groug Corp * MH Real Estate Holdings LLC * REF Broward LLC *
Catalpa Capital Corporation * TSE Synergy Opportunities LLC
Two NE AO Street, Suite 204, Miami, Florida 93137 * 7 B05 48 1258 * Fas 438 (289
Case 11-02015-RAM Doci1 Filed 05/25/11 Page 56 of 69

Property No. RBPI / 36
Address 5550 nw 61 St No 507
Coconut Creek Fl
Date of Purchase 12/15/09
Purchase Price $ 26,000.00
Court Fees $ 397.00
Acquisition Fee $ 2,600.00
Repairs $ 3,750.00
Taxes $ 220.69
HOA (Past Due) $ 4,183.96
Sales Commission $ 600.00
Doc Stamps $ 420.00
Closing Costs $ 430.00
Information and Research $ 50.00
| Reserves 2 Months Rent 3 1,700.00
Other $ 175.00
Total Costs. & 40,526.65
Judgment Amount, 3 137,540.00
$ 0.19
Sales Price $ 60,000.00
Acutal GAIN $ 19,473.35

To TSG (25% of Gain) $ 4,868.34
To BA (30% of Net Gain) 5 4,381.50
To____ (70% of Net Gain) $ 10,223.51
HH
cL

RJSAV

e

“4

Case 11-02015-RAM Doc 1 Filed 05/25/11 Page 57 of 69

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Residential Lease for Single Family Home of Duplex

No. 3055 pP. 2 a2/a7

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oo.

1¥'6 FloridaRealtors”

{FOR A TERN-NOT TO'EXCEED ON

E YEAR)

ABOx (C1) OR A BLANK SPACE { ) INDICATES A PROVISION WHERE A CHOICE OR DECISION MUST SE MADE BY THE

PARTIES.
JHE LEASE IMPOSES IMPORTANT LEGAL OBLIGATIONS. MANY RIGHTS

AND RESPONSIBILITIES OF THE PARTIES ARE

- GOVERNED BY CHAPTER 83, PART Il, RESIDENTIAL LANDLORD AND TENANT ACT, FLORIDA STATUTES: A COPY OF THE

RESIDENTIAL LANDLORO ANG TENANT ACT IS ATTACHED TO THIS LEASE,

2 NE 40 Bevoot MiemL FL. 33317

a4 PARTIES. This Is a lease (“the Lease”) between Wl REAL ESTATH HOLDENGS LLC
[fname and eddreee af owner of the property)

("Landtord") and

Eileen MeFaclane

(hemes) of person(s) lo wham tha property is Tesgadl)

(‘Tenant’). *

Landlord's E-mail Address:

fray, .
Devbavastae golutiongraup - net

Landiord’s Tolephone Number 3054391289

Tenant's E-mail Address:
$54 667 2482

Tenant's Telephone Number:

9° PROPERTY RENTED, Landlord leases to Tenant the land and pulldings localed at Beis NW 9a dhresk

Leudecbilt

(treat addrass)

__, Florida 33137

together with the following furniture and appllancea {List all furnituré and appllan
leased, Inoluding furniture and appliances, If any, is called "the Premises"):

Washer Dryex Refrigerator Dishwasher Stova B/

The Premises shall be occuptad only by the Tenent gnd the following persons:
ELleen MoFarlane and four children

Ay TERM. This Is @ lease for a te¥m, not to excoed twelve months, baginning on

ath . .
ing Ay ane Os goik (the “Leasa Term").
month, dey, yaey)

4 RENT PAYMENTS, TAXES AND CHARGES. Tenznt shail pay rent In tha
Lease Term. Tho rent shall be payable by Tenent [n advanea fn installments or in

(J inthstallments, if in installments, rent shall be payable
(monthly, on the day Of each month (if left blank,

% pat instalment. ,
OR

[} waekly, oh the
per Inatallpasnt,

. Thia avgtuazo La Jdcenaad to [Cathazine. Lachtonn + Luxury Relby Partnexd Ino] wey, tvanaaotiondask. dom,

(zip toda)

cag. if none, write "none," (In the Lease, the properly

C Micxrowava Hot water heater

on the first day of each month) in the amount of

day of each week, (If left blank, on Monday of each weak.) in the amount of §

“Sand Tenant { p 1 LAA) aoknowlodge recolpt of a copy of this page which Is Pags 1 of T
reid ©2010 Approved for use Order rule 10-2.1(a) af The Rules Reguisiing the Florida Sar

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Case 11-02015-RAM > Doc 1 Filed 05/25/11 Page 58 of 69

Resi i i i e or Duplex BYE ryt eda brave
Residential Lease for Single Family Hom p Ge Eley idoReal tors

att

(FOR A TERM NOT TO EXCEED ONE YEAR)

A BOX ((]) ORA BLANK SPACE ( ) INDICATES A PROVISION WHERE A CHOICE OR DECISION MUST BE MADE BY THE
PARTIES.

® THE LEASE IMPOSES IMPORTANT LEGAL OBLIGATIONS. MANY RIGHTS AND RESPONSIBILITIES OF THE PARTIES ARE
GOVERNED BY CHAPTER 83, PART Ii, RESIDENTIAL LANDLORD AND TENANT ACT, FLORIDA STATUTES. A COPY OF THE
RESIDENTIAL LANDLORD AND TENANT ACT IS ATTACHED TO THIS LEASE.

4. PARTIES. This is a lease (the Lease") between MH REAL ESTATE HOLDINGS LLC
(name and address of owner of the property)

2 NE 40 Street Mismi Fl- 33317 ("Landlord") and

Eileen McFarlane
(name(s) of person(s) to whom the property is leased)

(‘Tenant’).
mon .

Landlord's E-mail Address: Bacbexo@thesolutiongroup net

Landlord's Telephone Number: 3054381289

Tenant's E-mail Address:

Tenant's Telephone Number: 954 687 2482

2° PROPERTY RENTED. Landlord leases to Tenant the land and buildings located at 5512 NW 22 Street

(street address)
tauderhill , Florida 33137

(zip code)

together with tha following furniture and appliances [List all furniture and appliances. If none, write “none."] (In the Lease, the property
leased, including furniture and appliances, if any, is called "the Premises”): .

Washer Dryer Refrigerator Dishwasher Stove A/C Microwave Hot water heater

Ss \A

The Premises shall be occupled only by the Tenant and the following persons:

‘Bileen McFarlane and four children 6 i kd a
Wildg TERM. — This E a lease for a term, not to exceed twelve months, beginning on August-+72010 and

as month, day, year
ing Pg Saky 31, 2011, _ (the "Lease Term"). ( yy
(month, day, year) 159 9.00

# ER& RENT PAYMENTS, TAXES AND CHARGES. Tenant shall pay rent In the amount of §_ —*7r568760- (exctudKg tay or the

Lease Term. The rent shall ba payable by Tenant in advance in installments or in full as provided in the options below:

(CO ininstailments. If in installments, rent shall be payable "
Co monthly, on the day of each month (If leit blank, on the first day of each month) in the amount of
$ per installment.
. OR
(J weekly, on the day of each week. (|f left blank, on Monday of each week.) in the amount of $_

{ ) and Tenant [ ¢. (44) acknowledge receipt of a copy ‘of this page which Is Page 1 of 7
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Case 11-02015-RAM Doci1 Filed 05/25/11 Page 59 of 69

paAug. 23. 201010: 18AMage=1278 BCHA -. No. 3055 pP. 3 63/87

CJ in full on _ Inthe amount of $e
a ° (date)

Tenant shall also ba cbligaled to pay axes onthe yent when applicable in the amount of $ _" Clwith each rent Installment
Li with the rent for the full tarm of the Lease, worl notify Tenant If the amount of the tax changss.

- Payment summary
: [}lfventis pald fn Installments, the total payment per Installment including taxes shall bo In tha-armount of $ .

(Jif rent fe pale In full, the tote! payment including taxes shall bo in (ha emount af $

All rant paymenis shall ba payable to MA REAL ESTATE HOLDINGS LLC as
4 WW 40 STREET #204 miami Fi. 39137 iret blank, to Landlord at Landlord's address.)
{11 If the tonaney starts on a off cher ‘pan the first day of the month or week as designated above, the rant shall be prorated from
__ through in the amount of S$ and shalf be dua
(date) (date) .
on . (if cent pald monthly, prorate on a 30-day month.)

. (date)

Tenant shall make rent payments required under the Lease by (choose all eppiicable) (] cash. 0 personal check, Cimoney order,
{J cashier's check, or rl ather : (sneolfy}. If the payment is accepted by any
means other than cash, payment fs not coneldered made until the olher instrument is collected. .

re payments by [] money

If Tenant- makes & rent payment with a worthless check, Landlord can require ‘Tenent [1 to Pave fr
order, CJ castilar’s check, oF officlal bank check or [] cash or other (specily) AAA
Brasknioed\ by Secilon 6

and {1 to pay bad check fees in the amount of § __. (not te sxeeed the amount 6.088, Florida -

Statutes). LS 29, oo

5, MONEY DUE PRIOR TO OCCUPANCY. Tenant shall pay the suf of g “erase

occupying the Pramlses. Tenant shall not be entitled to move tn or to keys {0 te Promises unti all money dita priar to occupancy has
been pald. If no data is spacifled below, then funds shall be due prlor to Tenant occupancy. Any {unds dealgnated In til paragraph due
after occupancy, shall he paid accordingly. Any funda due under this paragraph shall be payable to Landlord at Landlord's address or

to : sy .
(name) +
at : i - :
, ¢ ‘addrass)
. ’ / - 99, 0 d
First }Z] month's [[] weelta rent plus applisable taxes genet due _august a, 2010
Prorated rent plus applicable faxes § : due

Advance rent for [] month (] week of

plus applicable taxes 8 due : .
Last [) month's [) week's rent plus applloable texes | 9 due
e Seourily daposit $ 1,600,006 dus Roguat 1, 2020
Adaltlonal security deposit $ due
Soourity deposit for homeowner's aesoolation $ due
Pat Deposit $ due
+ Olhor_ : § dus
Other, Z 8 due.
Landlord (¥“ 24 {__) and Tenant (Ey (Ad acknowledge recefpt of a copy of this page which lg Page 2 of7

RLHD-3 V7. 4/{0 @2010 Approved for use under rule 10-2.4(a) of The Rules Regulating the Florida Bar

mnie software 46 dAcenged te [Catherine Ltvbtnen »  Liiey Roalty Partners Tae] ww, txongactiondesk. con. ipstarngt
Case 11-02015-RAM Doci1 Filed 05/25/11 Page 60 of 69

oO in full on in the amount of $
(date)

Tenant shall also be obligated to pay taxes on the rent when applicable in the amount of $ ‘TC with each rent instaliment
(1 with the rent for the full term of the Lease. Landlord will notify Tenant if the amount of the tax changes.

Payment Summary

» [J Ifrentis paid in installments, the total payment per installment including taxes shall be in the amount of $

2

C1 if rent is paid in full, the total payment including taxes shall be In the amount of $

All rent payments shail be payable to MH REAL ESTATE eS LLC at
name.
2 NW 40 STREET #204 Miami Fl. 33137 . (If left blank, to Landlord at Landlord's address.)
(address)
(J If the tenancy starts on a day other than the first day of the month or week as designated above, the rent shall be prorated from
through In the amount of $ and shall be due
(date) (date) —
on . (If rent paid monthly, prorate on a 30-day month.)

(date)

Tenant shall make rent payments required under the Lease by (choose all applicable) (] cash, (] personal check, Llmoney order, .

(] cashier's check, or (J other (specify). If the payment is accepted by any
means other than cash, payment is not considered made until the other instrument is collected.

If Tenant makes @ rent payment with a worthless check, Landlord can require Tenant ( to payne payments by [] money
order, C1 cashier's check, or official bank check or [] cash or other (specify)

and [| to pay bad check fees in the amount of § (not fo exceed the amount prestribes\ by Section 68.065, Florida '
Statutes).

1579.00
5, MONEY DUE PRIOR TO OGCUPANGCY, Tenant shall pay the sum of $ “kr600700_ in acc with this paragraph prior to

occupying the Premises. Tenant shall not be entitled to move in or to keys to the Premises until all money due prior to occupancy has
been paid. if no date is specified below, then funds shall be due prior to Tenant occupancy. Any funds designated in this paragraph due
after occupancy, shall be pald accordingly. Any funds due under this paragraph shall be payable to Landlord at Landlord's address or

to sad

(name)
at
399.00 “ree!
First (71 month's [] week's rent plus applicable taxes Er 660700 due August 1, 2010
Prorated rent plus applicable taxes $ due
Advance rent for (] month (J week of
plus applicable taxes $ due
Last [] month's [) week's rent plus applicable taxes § due
Security deposit g 1,600.00 due August 1, 2010
Additional security deposit $ due
Security deposit for homeowner's association $ due
Pet Deposit . 5 due
* Other $ due
Other / $ due
Landiord (__)and Tenant { 7) ( d4) acknowledge receipt of a copy of this page which is Page 2 of 7

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Case 11-02015-RAM Doci1 Filed 05/25/11 Page 61 of 69

_ 6. LATE FEES. (Complete if applicable) In addition to rent, Tenant shall pay a late charge in the amount of 50.00 (If left

blank, 4% of the rent payment) for each rent payment made 10 days after the day it is due (if left blank, 5 days If rent is pald .
monthly, 1 day If rent is pald weekly).

7. PETS AND SMOKING. Unless this box [1 Is checked or a pet deposit is paid, Tenant may not keep pets or animals on the
Premises. If Tenant may keep pets, the pets described in this paragraph are parmitted on the Premises.

(Specify number of pets, lype(s), breed, maximum adult weight of pels.) .

Unless this box (I Is checked, no smoking fs permitted In the Premises.

8. NOTICES. ‘
ig Landiord's Agent. All notices must be sent to

[4] Landiord MH REAL ESTATE HOLDINGS LLC at 2 NE 40 Street Miami F1. 33137

CO Landlord's Agent at

unless Landlord gives Tenant written notice of a change. All notices of such names and addresses or changes thereto shall be delivered
to the Tenant's residence or, if specified in writing by the Tenant, to any other address. All notices to the Landlord or the Landlord's Agent
(whichever is specified above) shall be given by U.S. mail or by hand delivery.

Any notice to Tenant shall be given by U.S, mail or delivered to Tenant at the Premises. If Tenant is absent from the Premises, a notice
to Tenant may be given by leaving a copy of the notica at Premises.

9, UTILITIES. Tenant shall pay for all utilities services during the Lease Term and connection charges and deposits for activating
existing utility connections tothe Premises except for , that Landlord agrees to
provide at Landlord's expense (lf blank, then “NONE*).

40. MAINTENANCE. Landlord shall be responsible for compliance with Section 83.51, Florida Statutes, and shall be responsible for
maintenance and repair of the Premises, unless otherwise stated below: (Fill in each blank space with "Landlord" for Landlord or
“Tenant” for Tenant, if left blank, Landlord will be responsible for the item):

L_, roofs L__ windows ___. Screens ____ Steps

L__ doors L___ floors __. porches ~__ exterior walls

i __ foundations L__ plumbing . ~___ Structural components

i ___ heating a __ hot water ____ tunning water ____ tocks and keys

tL __ electrical system ____ cooling ____ smoke detection devices

L__ garbage removal outside receptacles

i _ extermination of rats, mice, roaches, ants and bedbugs

TZ __ extermination of wood-destroying organisms

__ lawn shrubbery n/a, pool/spa/hot tub

N/a water treatment, gz filters (specify)

L__ ceilings 1,_,_ interlor walls

___ Other (specify) LANDLORD SHALL SUPPLY A/C UNIT IN WORKING CONDITION

Tenant shail notify at (if laft blank, Landlord at
(name) (address)

Landlord's address) and of maintenance and repair requests.
{telephone number)

44. ASSIGNMENT. Unies this box {1 is checked, Tenant may not assign the Lease or sublease all or any part of the Premises «
without first obtaining the Landlord's written approval and consent to the assignment or sublease. .

42, KEYS AND LOCKS. Landlord shall furnish Tenant

1 # of sats of keys to the dwelling
0 # of mail box keys
0 # of garage door openers
Landlord { ) and Tenant (2 -f) { } acknowledge receipt of a copy of this page which is Page 3 of 7

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If there ts a homeowners association, Tenant will be provided with the following to access the association's common areas/facilitids:

# of keys to
# of remote controls to
Hof etectronic cards to

—_—_————-

other (specify) to

At end of Lease Term, all Items specified in this paragraph shall be returned to 1
(name)
at : (if teft blank, Landlord at Landlord's address).
(address)

43, LEAD-BASED PAINT. [J Check and complete If the dwelling was bullt before January 1, 1978. Lead Warning Statement (when
used In this article, the term Lessor refers to Landlord and the term Lessee refars to Tenant).

Housing built before 4978 may contain lead-based paint. Lead from paint, paint chips, and dust can pose health hazards if not managed
properly. Lead exposure is especially harmful to young children and pregnant women. Before renting pre-1978 housing, Lessors must
disclose the presence of known lead-based paint and/or lead-based paint hazards in the dwelling. Lessees must also receive a
federally approved pamphlet on lead poisoning prevention.

Lessor's Disclosure (initial) ,

(a) Prasence of jead-based paint or lead-based paint hazards (check (i) or (i) below):
(i) Known lead-based paint and/or lead-based paint hazards are present in the housing (explain).

(ii) Lessor has no knowledge of lead-based paint and/or lead-based paint hazards in the housing.

(b) Records and reporis available to the Lessor (check (i) or (il) below):
() Lessor has provided the Lessee with all available records and reports pertaining to lead-based paint and/or
iaad-based paint hazards in the housing (list documents below).

(ti) Lessor has no reports of records pertaining to lead-based paint and/or lead-based paint hazards in the
* housing.

Lessee’s Acknowledgment (initial)

(c) Lessee has received copies of all information listed above.
~_({d) Lessee has received the pamphlet Protect Your Family From Lead in Your Home.

Agent's Acknowledgment (initial)

(e) Agent has informed the Lessor of the Lessor's obligations under 42 U.S.C. 4852d and !s aware of his/her responsibllity
to ensure compliance. "

Certification of Accuyac
The following parties‘have
the signatory Is tru and accurate.

the information above and cerfify, to tha best of their knowledge, that the information provided by

Date Lessors signature Date

ig JaLG IO
Da Lessee's signature Date

{-26-/2

Y=
Date Agent's signature Date

44. SERVICEMEMBER. If Tenant is a member of the United States Armed Forces on active duty or state active duty or a member of
the Florida National Guard or United States Reserve Forces, the Tenant has rights to terminate the Lease as provided in Section
83.682, Florida Statutes, the provisions of which can be found in the attachment to this Lease.

Landlord [ and Tenant { hf ) acknowledge receipt of a copy of this page which is Page 4 of 7
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45. LANDLORD'S ACCESS TO THE PREMISES. Landlord's Agent may enter the Premises in the following circumstances:

A. Atany time for the protection or preservation of the Premises.

B. After reasonable notice to Tenant at reasonable times for the purpose of repairing the Premises.

C. To inspect the Premises; make necessary OF agreed-upon repairs, decorations, alterations, or improvements, supply
agreed services; OF exhibit the Premises to prospective or actual purchasers, mortgagees, tenants, workers, or contractors
under any of the following circumstances:

(1) with Tenant's consent;

(2) in case of emergency: e

(3) when Tenant unreasonably withholds consent; or

(4) if Tenant is absent from the Premises for a period of at feast one-half a rental installment period. (If the rent is
current and Tenant notifies Landlord of an intended absence, then Landlord may enter only with Tenant's consent or
for the protection or preservation of the Premises.)

46. HOMEOWNER'S ASSOCIATION. IF TENANT MUST BE APPROVED BY A HOMEOWNER’S ASSOCIATION
(“ASSOCIATION”), LANDLORD AND TENANT AGREE THAT THE LEASE 1S CONTINGENT UPON RECEIVING APPROVAL FROM
THE ASSOCIATION. ANY APPLICATION FEE REQUIRED BY AN ASSOCIATION SHALL BE PAID BY [J LANDLORD
(1 TENANT. IF SUCH APPROVAL IS NOT OBTAINED PRIOR TO COMMENCEMENT OF LEASE TERM, EITHER. PARTY MAY
TERMINATE THE LEASE BY WRITTEN NOTICE TO THE OTHER GIVEN AT ANY TIME PRIOR TO APPROVAL BY THE
ASSOCIATION, AND IF THE LEASE IS TERMINATED, TENANT SHALL RECEIVE RETU RN OF DEPOSITS SPECIFIED IN ARTICLE
5, IF MADE. If the Lease is not terminated, rent shall abate until the approval is obtained from the association. Tenant agrees to use due
diligence in applying for association approval and to comply with the requirements for obtaining approval. TJ Landlord [] Tenant
shall pay the security deposit required by the association, if applicable.

47. USE OF THE PREMISES. Tenant shall use the Premises for residential purposes. Tenant shall have exclusive use and right of

possession to the dwelling. The Premises shall be used so as to comply with all state, county, municipal laws and ordinances, and all

covenants and restrictions affecting the Premises and all rules and regulations of homeowners’ associations affecting the Premises.
Tenant may not paint or make any alterations or improvements to the Premises without first obtaining the Landlord's written consent to the

- alteration or improvement. However, unless this box LJ is checked, Tenant may hang pictures and install window treatments in the
Premises without Landlord's consent, provided Tenant removes all such items before the end of tha Lease Term and repairs all
damage resulting from the removal. Any improvements or alterations to the Premises made by the Tenant shall become Landiord’s
property. Tenant agrees not to use, keep, or store on the Premises any dangerous, explosive, toxic material which would Increase the
probability of fire or which would increase the cost of insuring the Premises.

418. RISK OF LOSS/INSURANCE. .
A. Landlord and Tenant shall each be responsible for loss, damage, of injury caused by its own negligence or willful conduct.
B. Tenant should carry ineurance covering Tenant's personal property and Tenant's liability insurance.

49, PROHIBITED ACTS BY LANDLORD. Landlord is prohibited from taking cartain actions as described in Section 83.67, Florida
‘ Statutes, the provisions of which can be found in the attachment to this Lease.

20. CASUALTY DAMAGE. if the Premises are damaged or destroyed other than by wrongful or negligent acts of Tenant or persons
on the Premises with Tenant's consent, so that the use of the Premises !s substantially impaired, Tenant may terminate the Lease within
30 days after the damage or destruction and Tenant will immediately vacate the Premises. If Tenant vacates, Tenant is not liable for
rent that would have been due after the date of termination. Tenant may vacate the part of the Premises rendered unusable by the
damage or destruction, in which case Tenants liability for rent shall be reduced by the fair rental value of the part of the Premises that
was damaged or destroyed. >
21. DEFAULTS/REMEDIES. Should a party to the Lease fail 1o fulfill thelr responsibilities under the Leasa or need to determine
whether there has been a default of the Lease, refer to Part Il, Chapter 83, entitled Florida Residential Landlord and Tenant Act which
contains information on defaults and remedies. A copy of the current version of this Act is attached to the Lease.

22. SUBORDINATION. The Lease is automatically subordinate to the llen of any mortgage encumbering the fee title to the Premises.
from time to time.

93. LIENS. THE INTEREST OF THE LANDLORD SHALL NOT BE SUBJECT TO LIENS FOR IMPROVEMENTS MADE BY
THE TENANT AS PROVIDED IN SECTION 713.10, FLORIDA STATUTES. Tenant shall notify all parties performing work on the
Premises at Tenant's request that the Lease does not allow any liens to attach to Landlord's interest.

24. RENEWAL/EXTENSION. The Lease can be renewed or extended only be a written agreement signed by both Landlord and
penan but the term of a renewal or extension together with the original Lease Term may not exceed one year. A new lease is required
‘or each year.

25. TENANT'S TELEPHONE NUMBER. Tenant shail, within 5 business days of obtaining telephone services at the Premises, send
written notice to Landlord of Tenant's telephone numbers at the Premises.

26. ATTORNEYS' FEES. In any lawsult brought to enforce the Lease or under applicable law, the party in whose favor @ judgment or
decree has been/endered may recover reasonable court costs, Including attorneys’ fees, from the non-prevalling party.

Landlord
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and Tenant €-y) ( ) acknowledge receipt of a copy of this page which is Page 50f7
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27. MISCELLANEOUS.

A. Time Is of the essence of the performance of each party's obligations under the Lease.

B. The Lease shall be binding upon and for the benefit of the heirs, personal representatives, successors, and permitted

assigns of Landlord and Tenant, subject to the requirements specifically mentioned in the Lease. Whenever used, the singular
nurnber shall Include the plural or singular and the use of any gender shall include all appropriate genders.
C. The agreements contained in the Lease set forth the complete understanding of the partles and may not be changed or
terminated orally. .
D. No agreement to accept surrender of the Premises from Tenant will be valid unless in writing and signed by Landlord.
E. All questions concerning the meaning, execution, construction, effect, validity, and enforcement of the Lease shall be
determined pursuant to the laws of Florida.
F. A facsimile copy of the Lease and any signatures hereon shall be considered for all purposes originals.
G. As required by law, Landlord makes the following disclosure: "RADON GAS." Radon is a naturally occurring radioactive gas
that, when It has accumulated In a building in suffident quantities, may present health risks to persons who are exposed to it
over time. Levels of radon that exceed federal and state guidelines have been found in buildings in Florida. Additional
Information regarding radon and radon testing may be obtained from your county health depariment.

28. BROKERS" COMMISSION. [1 Check and complete if applicable. The brokerage companies named below will be paid the
commission set forth in this paragraph py [1 Landlord (1 Tenant for procuring 4 tenant for this transaction. °

CECELIA JACKSON Catherine Lichtman
Real Estate Licensee Real Estate Licensee
CJAX N CO REALTY Luxury Realty Paxtners Inc
Real Estate Brokerage Company Real Estate Brokerage Company
* Commission Commission

29, TENANT'S PERSONAL PROPERTY. TENANT MUST INITIAL IN THIS BOX [] FOR THE FOLLOWING PROVISION TO
APPLY. BY SIGNING THIS RENTAL AGREEMENT, THE TENANT AGREES THAT UPON SURRENDER, ABANDONMENT, OR
RECOVERY OF POSSESSION OF THE DWELUING UNIT DUE TO THE DEATH OF THE LAST REMAINING TENANT, AS PROVIDED
BY CHAPTER 83, FLORIDA STATUTES-THE LANDLORD SHALL NOT BE LIABLE OR RESPONSIBLE FOR STORAGE OR
DISPOSITION OF THE TENANT'S PERSONAL PROPERTY.

The Lease has beenexec tad bythe parties on the dates indicated below.

tants Berste CS Date

Landlord's Signature Date
Landlord's Signature Date

co

ze
Tenant's Signature Date

Eileen McFarlane

Tenant's Signature Date
This form was completed with the assistance of:

Name of Individual: CECELIA JACKSON

Name of Business:

Address:

Telephone Number:

Landlord (_{ and Tenant cm df } acknowledge recelpt of a copy of this page which is Page 6 of 7
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Early Termination Fee/Liquidated Damages Addendum

I] lagree, as provided in the rental agreement, to pay $_ (an amount that does not exceed two months’ rent) as
liquidated damages or an early termination fee if | elect to terminate the rental agreement and the landlord waives the right to seek
additional rent beyond the month In which the landiord retakes possession.

x, | do not agree fo liquidated damages or an early termination fee, and | acknowledge that the landlord may seek damages as
provided by law.

. /
J, > | & lio

ei \ Date

* Landlord's Signature Date
Landlord's Signature Date
C Veen HE ,
o— Ww
Tenant's Signature Eileen NceFarlane Date
Tenant's Signature Date '
Landlord { } and Tenant Emad )} acknowledge receipt of a copy of this page which Is Page 7 of 7

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Barbara Besu

To: Harvey Hemandez (TSG)
Ce: Frank Rodriguez
Subject: RE: Skyloft NDP29

Good Morning, Boss,

I spoke w/ Bob this morning. He gave me an entry code for gate:@417. This will give you
access through the whole property. He will have his maintenance guy, Alex, call me, because
he has a’ master key.

In the meantime I will fax him copy of the Certificate of Title and contact their attorneys
for the HOAs'.

Barbara Besu

----- Original Message---~-- .

From: Harvey Hernandez (TSG) [mailto:hhernandez@thesolutiongroup.net]
Sent: Tuesday, June 68, 2010 9:03 AM

To: Barbara

Subject: Skyloft

Good morning Barbara, here's the info for, the person in charge of management for skyloft.
Please call him asap and get a pay off of HOA.

Mor management. Bob 561 2769248,

‘Thx.

Harvey Hernandez
2 NE 40 Street
Suite 204

Miami, FL 33137
T: (305) 438-1259
F: (305) 675-2837
Case 11-02015-RAM Doci1_ Filed 05/25/11 Page 67 of 69

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Barbara Besu

From: . Harvey Hernandez (TSG) [hhemandez@thesolufiongroup.net]
Sent: Tuesday, June 08, 2010 9:03 AM

To: Barbara

Subject: Skyloft

Good morning Barbara, here's the info for the person in charge of management for skyloft.
Please call him asap and get a pay off of HOA.

Mor management. Bob 561 2760248. ~74% SG/ “265 O78 O
Thx.

Harvey Hernandez
2 NE 40 Street
Suite 204

Miami, Fl 33137
T: (385) 438-1259
F: (3@5) 675-2837
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Monika Pfelffer

To: Harvey Hernandez (T SG); raul@thesolutiongroup.net; 'Linda Fiorello’: Joseph Fiorel!
Subject: RE: LAkes of carriage hills MBP 56 ° _

Raul and Harvey:

The previous owner is still living the property she seems very difficult and not someone we
would want in one of our properties, she doesn't even have electricity in the property

‘because of lack of payment and the association Said she is a troublemaker, so Joe is going to
start working on getting her out ASAP.

This community doesn't allow rentals, but Linda was over at the association talked to them
and they will make an exception and allow us to rent.

Monika S. Pfeiffer The Solution Group Corp | Coordinator Broward Aquisitions | Two NE 49
Street, Suite 284 | ‘Miami, Florida 33137 | T 305 438 1259 | C 786 942 2363 | F 305 438 1289

| monika@thesolutiongroup.net | www. thesolutiongroup.net

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Thank you,

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Ud. no es una de estas personas, le participamos que esta prohibido cualquier diseminacién o
distribucién de esta comunicacién. Si ha recibido este correo en error, le rogamos por
favor se lo comunique a la persona que se lo mando por correo electrénico y destruya
cualquier copia del correo original. Gracias.

weeee Original Message----- .

From: Harvey Hernandez (TSG) [mai lto:hhernandez@thesolutiongroup.net]

Sent: Tuesday, June 22, 2018 3:49 pM

To: Monika Pfeiffer; raul@thesolutiongroup.net; ‘Linda Fiorello’; Joseph Fiorello
Subject: RE: LAkes of carriage hills MBP 56

Hi Linda,

It looks like this community is 55 and over, what can we do? Are we able to negotiate a lease
with the parties occupying the property? Joe?

Please advice,

HH
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----- Original Message-----

From: Monika Pfeiffer [mailto:monika@thesolutiongroup.net]
Sent: Wednesday, June 16, 2010 4:15 PM ,

To: Harvey Hernandez (TSG); raul@thesolutiongroup.net
Subject: LAkes of carriage hills

none Original Message-----

From: Joseph Fiorello [mailto:joefiorellojr@gmail.com]

Sent: Wednesday, June 16, 2010 3:33 PM

To: camilo@thesolutiongroup.net; ‘Monika Pfeiffer’; ‘Linda Fiorello’; ‘Frank Rodriguez'
Subject: FW: IMG@GO56-20100616-1133 . jpg

Hello All,

This e-mail is to inform you all that while on my morning route I noticed that MBP 56 (4950
E. Sable Palm Blvd #21@) is located within a 55 and older community and they do not allow
rentals. Attached is a picture of the community sign that clearly states that this is a 55
and above community.

Joe Fiorello

Vice President of Sales and Marketing
Luxury Realty Partners

6722 N. State Road 7

Coconut Creek FL, 33073

Office: 954-843-8028

Cell: 954-495-6363
Joefiorellojr@gmail.com

eeren Original Message-----

From: joefiorellojr@gmail.com [mailto:joefiorellojr@gmail.com]
Sent: Wednesday, June 16, 2010 2:57 PM

To: joefiorellojr@gmail.com .

Subject: IMGQ0056-26100616-1133.jpg

Sent from my Verizon Wireless BlackBerry No virus found in this incoming message.
Checked by AVG - wwwW.avg.com
Version: 8.5.437 / Virus Database: 271.1.1/2940 - Release Date: 96/15/10 18:35:98
